UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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AMERICAN TECHNICAL CERAMICS CORP.
and AVX CORPORATION,

        Plaintiffs,                            MEMORANDUM & ORDER

     -against-                                 14-CV-6544(KAM)(GRB)

PRESIDIO COMPONENTS, INC.,

       Defendant.
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MATSUMOTO, United States District Judge:

           On June 21, 2019, a ten-day patent infringement trial

ended with a unanimous verdict finding defendant, Presidio

Components, Inc. (“Presidio” or “Defendant”), liable for patent

infringement.     The jury determined that Presidio infringed

patents held by plaintiffs, American Technical Ceramics Corp.

(“ATC”) and AVX Corporation (“AVX,” and together with ATC,

“Plaintiffs”), by making or selling over 15 million Buried

Broadband (“BB”) capacitors, between November 6, 2008 and

January 9, 2017.      The jury awarded royalty damages to Plaintiffs

totaling $738,981.75, but awarded no lost profits, and rejected

each defense raised by Presidio, save one, not at issue here.1

Neither party is entirely satisfied with the trial’s outcome.

Each now moves to challenge the verdict.

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      The jury returned an advisory verdict finding one claim term indefinite
(ECF No. 220-9, Completed Verdict Form, Question No. 12), but the court
subsequently determined that Presidio failed to prove indefiniteness at trial
by clear and convincing evidence. (ECF No. 214.)


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           Plaintiffs are convinced the jury erred when

calculating damages based on a reasonable royalty rate,

resulting in a grossly inadequate award.     Their theory defies

simple explanation, but may be summarized as follows.      During

Plaintiffs’ summation, their counsel advocated for both a lost

profits measure of damages, and a reasonable royalty.      Although

Plaintiffs preferred lost profits, which would have conferred a

larger award, counsel was forced to acknowledge that a small

subset of the infringing units, about one-fifth of the total,

were ineligible for lost profits, either because Presidio did

not sell them, or because Plaintiffs did not offer a competing

product.   For this smaller tranche of capacitors, Plaintiffs

sought a reasonable royalty, the statutory floor for

infringement damages.   Plaintiffs’ counsel urged the jury to

adopt a $0.25 royalty rate, and provided the jury with the

specific damages amounts for each patent that would inevitably

result should the jury apply the proposed royalty rate to the

smaller subset of accused products.

           Alas, the verdict reflected the very damages figures

stated by Plaintiffs’ counsel, to the penny.     Much to

Plaintiffs’ chagrin, however, these damages figures, proposed to

the jury exclusively for about one-fifth of the units, comprised

the entirety of Plaintiffs’ damages award.     The reasonable

inference, Plaintiffs assert in post-trial submissions, is that

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the jury settled on a $0.25 royalty rate, but, in effect,

omitted the bulk of infringing units from its calculations.              If

so, this error was a statutory violation, as patent law requires

no less than a minimum royalty for each infringing unit.

Plaintiffs insist the jury’s manifest error must be rectified

and, therefore, move for a new trial on the issue of damages,

pursuant to Federal Rule of Civil Procedure 59(a), or,

alternatively, an amended judgment under Rule 59(e).            (ECF No.

220-1, Plaintiffs’ Memorandum of Law in Support of Plaintiffs’

Motion for a New Trial on Damages or an Amended Judgment (“Pls.’

Mot.”).)2

            Presidio challenges the verdict in two respects: the

jury’s findings of infringement, and its rejection of Presidio’s

anticipation defense with respect to one of the patent claims.

Thus, Presidio moves for judgment as a matter of law (“JMOL”),

pursuant to Rule 50(b) of the Federal Rules, or alternatively, a

new trial.    (ECF No. 227-1, Defendant Presidio Components,

Inc.’s Memorandum in Support of Motion for Judgment as a Matter




2
      Defendant served its opposition to Plaintiffs’ motion on January 7,
2020.     (ECF No. 221, Presidio’s Opposition to Plaintiffs’ Motion for a New
Trial on Damages or an Amended Judgment (“Def.’s Opp.”).) Plaintiffs replied
on January 21, 2020. (ECF No. 222, Plaintiffs’ Reply in Support of
Plaintiffs’ Motion for a New Trial on Damages or an Amended Judgment (“Pls.’
Reply”).)


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of Law and a New Trial (“Def.’s Mot.”).)3          Plaintiffs oppose the

motion.

            In addition, Plaintiffs are seeking supplemental

damages for Presidio’s continuing infringement after the time

period considered at trial, pre- and post-judgment interest, and

taxable costs.4     (ECF No. 226-1 (UNDER SEAL), Plaintiffs’

Memorandum in Support of Plaintiffs’ Motion for Supplemental

Damages, Pre- and Post-Judgment Interest, and Costs (“Pls.’

Dmgs. Mot.”).)5     As with Plaintiffs’ motion for a new trial,

Presidio opposes the bulk of the damages and fees Plaintiffs now

seek.

            For the reasons that follow, the court: (1) GRANTS

Plaintiffs’ motion for a new trial with respect to royalty

damages; (2) DENIES Plaintiffs’ motion for a new trial with

respect to lost profits damages; (3) DENIES Plaintiffs’ motion

for an amended judgment increasing royalty damages; (4) DENIES

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      Plaintiffs served their opposition to Presidio’s motion on January 7,
2020. (ECF No. 228, Plaintiffs’ Opposition to Presidio’s Motion for Judgment
as a Matter of Law and a New Trial (“Pls.’ Opp.”).) Presidio replied on
January 21, 2020. (ECF No. 229, Defendant Presidio Components, Inc.’s Reply
in Support of Motion for Judgment as a Matter of Law and a New Trial (“Def.’s
Reply”).)
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      Plaintiffs have also moved for an award of reasonable attorneys’ fees.
(See ECF No. 223-1, Plaintiffs’ Memorandum of Law in Support of Plaintiffs’
Motion for Reasonable Attorneys’ Fees.) That motion will be considered
separately, and comprise the subject of a subsequent Memorandum and Order.
5
      Presidio served its opposition to Plaintiffs’ damages motion on January
7, 2020. (ECF No. 231, Presidio’s Opposition to Plaintiffs’ Motion for
Supplemental Damages, Pre- and Post-Judgment Interests, and Costs (“Def.’s
Dmgs. Opp.”).) Plaintiffs replied on January 21, 2020. (ECF No. 232,
Plaintiffs’ Reply in Support of Plaintiffs’ Motion for Supplemental Damages,
Pre- and Post-Judgment Interest, and Costs (“Pls.’ Dmgs. Reply”).)


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Presidio’s motion for JMOL and a new trial in its entirety; and

(5) GRANTS in part, and DENIES in part, Plaintiffs’ motion for

supplemental damages, pre- and post-judgment interest, and

taxable costs, as set forth in greater detail below.

                                BACKGROUND

I.    The Parties and Patents-in-suit

            Plaintiffs commenced this action on November 6, 2014

(ECF No. 1, Complaint (“Compl.”)), accusing Presidio of

infringing United States Patent No. 6,144,547 (“‘547 Patent”),

and United States Patent No. 6,337,791 (“‘791 Patent,” together

with the ‘547 Patent, the “Patents-in-suit”). (See generally

Compl.; see also ECF No. 1-3, Compl., Ex. 1 (annexing Patents-

in-suit).)6    ATC is a wholly-owned subsidiary of the publicly

traded AVX Corporation, and is based in Huntington Station, New

York.   AVX owns the ‘547 Patent, which it licensed to ATC in

November 2014, and ATC owns the ‘791 Patent.           (See ECF No. 79,

Claim Construction Order (“Cl. Constr. Order”) 2.)            Presidio is

a privately-owned company based in San Diego, California.

            The parties are manufacturers of electrical devices,

such as capacitors.      (Cl. Constr. Order 2)      Capacitors are

electronic components that store and release energy within a

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      Plaintiffs also claimed infringement predicated on United States Patent
No. 6,992,879 (“‘879 Patent”), but withdrew that claim after the Patent Trial
and Appeal Board voided the ‘879 Patent. (ECF No. 82, December 2016 Joint
Status Letter, 1; ECF No. 116-2, Plaintiffs’ Memorandum of Law in Support of
Motion for Summary Judgment, 2 n.1.)


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circuit, and are used in a variety of electrical systems,

including consumer electronics.       (Id.)   Capacitors typically

consist of two parallel conductive, usually metal, plates

separated by a non-conductive, insulating material known as a

“dielectric.”   (Id.)

           The Patents-in-suit describe “multilayer ceramic

capacitors” (“MLCCs”), which are created through the combination

of multiple capacitors by stacking several layers of conductive

material and non-conductive, or dielectric, material.        (Cl.

Constr. Order 2-3.)     All parties manufacture and sell MLCCs.

(Id. 3.)   Defendant manufactures products known as BB

capacitors, which Plaintiffs contend practice and infringe the

Patents-in-suit.   Plaintiffs filed the Complaint seeking, inter

alia, a judgment that Presidio infringed the Patents-in-suit,

damages arising from the alleged infringement, an award of

attorneys’ fees pursuant to 35 U.S.C. § 285, injunctive relief

prohibiting Presidio from engaging in further infringement, an

accounting, and an award of interest and costs.        (Compl. 5-6.)

           Four-and-a-half years after this case began, during

which time the parties engaged in extensive discovery, inter

partes review, two claim construction hearings pursuant to

Markman v. Westview Instruments, Inc., 517 U.S. 370 (1996), and

cross-motions for summary judgment, the case proceeded to trial.

Over the span of two weeks, Plaintiffs presented evidence to a

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jury that Presidio infringed the Patents-in-suit, and sought

damages commensurate with Plaintiffs’ economic injury.     (See

Minute Entries dated 6/10/2019 to 6/21/2019.)

II.   The Trial

        A. The ‘791 Patent

              1. Infringement of Claim 2

          Claim 2 of the ’791 Patent (“Claim 2”) requires

“second dielectric layer length and the second dielectric layer

width dimensions co-extensive with the first dielectric layer

length and the first dielectric layer width dimensions

respectively of the first dielectric layer . . . .”   (ECF No.

227-2, ‘791 Patent, col. 4, ll. 40-45 (emphasis added).)     At

trial, the parties disputed whether Presidio’s BB capacitors

satisfied the “co-extensive” requirement, as well as other

limitations in Claim 2.

          Presidio’s technical expert, Dr. Michael Randall,

testified that Presidio’s BB capacitors do not meet the “co-

extensive” requirement, and therefore, do not infringe Claim 2.

Dr. Randall relied, in part, on close-up images of allegedly

infringing capacitor chips.   The exemplar immediately below,

upon which Defendant relied, magnified the bottom right and

bottom left corners of a capacitor chip to illustrate that the

first and second dielectric layers are not equal in length and,

therefore, are not co-extensive:

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(ECF No. 227-3, Plaintiffs’ Ex. PDX-005.127; see also ECF No.

227-6, Trial Ex. CQ (close-up images of dielectric layers).)

Dr. Randall, advancing his conclusion that the lengths of the

dielectric layers in the accused devices are not co-extensive,

emphasized the non-overlapping red and blue line markers

extending from the widest extent of the first and second

dielectric layers.      (Tr. 1893:13-21.)7


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      The caption “Tr. _” refers to the transcript for the trial held in this
action from June 10 through June 21, 2019. The transcript for each day’s
proceedings appears on the docket as follows: Day 1 – June 10, 2019 (ECF No.
209); Day 2 – June 11, 2019 (ECF No. 210); Day 3 – June 12, 2019 (ECF No.
211); Day 4 – June 13, 2019 (ECF No. 212); Day 5 – June 14, 2019 (ECF No.
213); Day 6 – June 17, 2019 (ECF No. 235); Day 7 – June 18, 2019 (ECF No.
219); Day 8 – June 19, 2019 (ECF No. 236); Day 9 – June 20, 2019 (ECF No.
204); Day 10 – June 21, 2019 (ECF No. 234). Citations to the trial record

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            Furthering that point, Mr. Alan Devoe, Presidio’s

President and corporate designee, described the impact of

Presidio’s “corner rounding” process, and how it results in a

first and second dielectric layer with different dimensions.

(Tr. 1148-63.)     Corner rounding, explained Mr. Devoe, is an

“important” and time-consuming aspect of Presidio’s capacitor

manufacturing process, designed to minimize damage to the

ceramic capacitors when they collide with one another.                (Id.)

As Mr. Devoe elaborated at trial:

            [T]he ceramic of the capacitor is very delicate. . . .
            [T]here are a lot of ceramics that are very strong in
            this world; maybe like what we use for our dishes,
            that kind of thing.        But the ceramic for the
            capacitors has been optimized to give good electrical
            properties as the primary objective, and then it’s
            just not the strongest ceramic in the world.

            . . . [T]he problem with a sharp corner is that as
            we’re processing the parts, the capacitors can hit
            each other in the bag, and then . . . they can put
            little chips on the edges.  And every capacitor that
            has a chip out, if it's above a certain very small
            size, would be thrown away.

            So . . . the first reason to corner round is to try to
            reduce the chipping to prevent us -- to save the
            parts.

(Id. 1153:7-22; see also id. 1151-52.)

            Plaintiffs made their infringement case through their

technical expert, Dr. Craig Hillman.         Dr. Hillman testified that

a person of ordinary skill in the art (“POSITA”) of capacitors


herein refer to the relevant page and line number of the collective
transcript.

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would understand that the first and second dielectric layers are

co-extensive when “at the interface where they meet they extend

over the same area . . . .”        (Tr. 650:10-12; accord id. 729:15-

17 (“[W]hen we talk about co-extensive, they extend over the

same area.    The area that they share is that interface between

each other.”); see also id. 736:9-14 (“They [i.e., the first and

second dielectric layers] don’t share the same space or same

common area space at the top of the second dielectric layer.

They don’t share that same common space at the bottom of the

first dielectric layer. There is only one place where they share

that common space; and are therefore co-extensive. It’s at this

interface where this metal electrode is present.”).)

            To elucidate, Dr. Hillman navigated the jury through

approximately 100 images of accused devices magnified by his

laboratory, which displayed the BB capacitors’ dielectric layers

extending over the same area.       (Tr. 729:22-730:25; e.g., ECF No.

228-4, Demonstratives of Plaintiffs’ Infringement Expert, 5.110-

113.)     Dr. Hillman also clarified that the word “same,” in this

context, allowed for certain “tolerances,” i.e. acceptable

increments of variation between the dimensions of the dielectric

layers.     (Tr. 670:21-671:11.)    Dr. Hillman noted that Presidio’s

own product catalog, as well as its customers, and the capacitor

industry at large, deemed capacitor layers the “same” without

regard to minor variations, so long as the differences fell

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within acceptable tolerances.    (Id. 671:10-11.)    In one

instance, Dr. Hillman directed the jury’s attention to

micrographs of Presidio’s accused BB0502 capacitors, and

affirmed that, when held to the standards set forth in

Presidio’s catalog, the first and second dielectric layers are

of “the same length, and the same width.”    (Id. 671:11; ECF No.

228-6, Trial Ex. 167 (Micrographs of Presidio BB0502).)

           Dr. Hillman also criticized Dr. Randall’s methodology

for testing co-extensiveness, and, ipso facto, Dr. Randall’s

assessment that the BB capacitors did not have co-extensive

dielectric layers.   Dr. Hillman identified three key errors in

Dr. Randall’s analysis:

           First, according to Dr. Hillman, Dr. Randall failed to

properly measure co-extensiveness.    (Tr. 733:19-20.)    Dr.

Hillman reiterated that the “only place” where the dielectric

layers actually share a common space, is at the interface where

a metal electrode exists between them.    (Id. 736:9-14; see id.

733:22 (defining co-extensive as “extending over the same

area”).)   By simply measuring where each dielectric layer was

widest or longest (id. 736:23-24), Dr. Hillman thought Dr.

Randall had elided the relevant measurement, the point where the

layers shared a common space or area with one another, “at the

metal electrode” between them.    (Id. 737:20-23.)    In Dr.

Hillman’s view, this flawed approach infected each and every one

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of the images undergirding Dr. Randall’s non-infringement

conclusion.    (Id. 740:2.)8

            Second, Dr. Hillman testified that Dr. Randall

predicated his opinion on improperly cross-sectioned images of

the accused BB capacitors.       (Tr. 733:20-21.)      By this, Dr.

Hillman meant that Dr. Randall relied on “artifact[s] or

defect[s]” in Presidio’s BB capacitors that were caused by “some

aspect of Presidio’s manufacturing process.”           (Id. 744:1-2.)

Dr. Hillman expounded on this error using the image below,

extracted from Dr. Randall’s expert rebuttal report:




(ECF No. 228-4, Trial Ex. 167, PDX-005.135.)



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      Dr. Hillman also rejected Presidio’s contention that corner rounding
has any impact on co-extensiveness. (Id. 741:6-8.) As Dr. Hillman noted,
corner rounding is a universally shared practice by capacitor manufacturers
and, by design, does not cut into the relevant electrode interface at which
the dielectric layers’ dimensions are measured for co-extensiveness purposes.
(Id. 741:12-22.)


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           Directing the jury’s attention to the yellow

highlighting, Dr. Hillman explained:

           This is a highly localized defect. You can see there
           is [an] extensive amount of cracking in the first
           dielectric layer . . . . No capacitor manufacturer
           wants cracks in their capacitors. That’s going to
           cause failure at some point and a very unhappy
           customer.

           So this yellow artifact highlighted in yellow that Dr.
           Randall is using as a justification on why they are
           not co-extensive, is likely some defect.         Defect
           either   caused  by   the  manufacturing   process   at
           Presidio; or by the people who cross sectioned this
           capacitor.

(Tr. 744:21-745:6.)     Dr. Hillman independently cross-sectioned

the capacitors, and concluded that the yellow-highlighted

artifact was not present in the other capacitors from the same

lot.   (Id. 745:11-15.)9     Dr. Hillman remarked that, had Dr.

Randall presented a “deeper” cross-section of the capacitor, it

would be clear that the supposedly incongruous length and width

of the dielectric layers in Dr. Randall’s images were the result

of idiosyncratic defects, and so, did not “represent the

dimensions of that capacitor whatsoever.”         (Id. 744:13-14.)

           The third error, according to Dr. Hillman, was Dr.

Randall’s “impossible standard” of measurement that neither

Presidio, nor the capacitor industry, would have recognized.

(Tr. 745:24-25.)     Dr. Hillman testified that, assuming,

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      Dr. Hillman believed that the artifact highlighted in yellow was a
“large amount of metal somehow ingressed into the dielectric layer.” (Id.
745:9-10.)


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arguendo, Dr. Randall measured the dielectric layers in the

appropriate area (error one), and the selected images did not

feature unrepresentative defects (error two), it was still only

the excessive magnification of Dr. Randall’s images that gave

the impression of material length and width variations.      (Id.

745:22-23, 746-47; see ECF No. 228-4, Trial Ex. 167, PDX-

005.139.).   In actuality, the variations that Dr. Randall

identified, were but “1/20th what the industry would view as a

difference” in the length or width of the dielectric layers, and

well within Presidio’s stated tolerances.   (Tr. 747:21-748:12.)

         Finally, Dr. Hillman noted that Presidio itself

appeared to disagree with Dr. Randall’s assessments.   This

alluded to Presidio’s discovery admission, regarding two

exemplar images of BB capacitors, that “the length and width

dimensions of the layer of dielectric material directly above

the internal electrode . . . are coextensive, respectively, with

the length and width dimensions of the layer of dielectric

material directly below the internal electrode . . . .”      (ECF

No. 228-4, PDX-005.141, 142.)   According to Dr. Hillman, Dr.

Randall’s approach yielded a conclusion contrary to Presidio’s

admission.   (Tr. 749:1-7.)




                                14
                2. Prior Art

            Presidio also sought to invalidate the ‘791 Patent as

anticipated by prior art.       This defense, as relevant here,

centered on the following limitation in Claim 2:

            a   first  electrode   layer  mounted  on   the  first
            dielectric surface of the first dielectric layer, with
            the first electrode layer having a first electrode
            layer length dimension and a first electrode layer
            width dimension each smaller than the respective first
            dielectric layer length dimension and the first
            dielectric layer width dimension[.]

(ECF No. 1-3, ECF pp. 2-7 (‘791 Patent).)10

            U.S. Patent No. 6,366,443 to Devoe et al. (“Devoe

Reference” or “Devoe”), describes “a ceramic chip capacitor”

that “exhibits increased capacitance from use of closely spaced

interior conductive planes.”        (See ECF No. 227-12, Devoe

Reference, col. 13, ll. 24-29.)        Pertinently, the Devoe

Reference states that “[t]he new capacitors are a new true

monolithic structure, with the potentially delicate electrodes

buried within the three-dimensional body of the capacitor . . .

.”   (Devoe Reference, col. 9, ll. 13-17 (emphasis added).)               This

language, among other things, led Dr. Randall to conclude that

Devoe teaches each limitation of, and thereby anticipates, Claim

2.   (Tr. 1732:6-9.)     Specifically, he opined that Devoe’s

reference to “buried” electrodes encompasses the limitation in


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      The ‘791 patent was introduced as Plaintiffs’ Exhibit 2 at trial.
(See Tr. 181:5.)


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Claim 2 of a first electrode layer having length and width

dimensions smaller than the respective length and width

dimensions for the first dielectric layer.          (Id. 1737-40.)

           Dr. Randall advanced Presidio’s anticipation argument

by analyzing Devoe’s drawings, including annotated Figure 2b,

reproduced with designations below:




(Devoe Reference, ECF p. 4 of 20 (coloration and designations

added));11 see also id. col. 12, ll. 45-49 (“FIG. 2 . . . is a

diagrammatic view of another possible ‘family tree’ of

capacitors in accordance with the present invention generally

characterized in that electrical connections are made on only

one surface of the capacitor.”).)         According to Dr. Randall,

Figure 2b depicts a first electrode layer, mounted on the first

dielectric layer first surface.        (Tr. 1736:15-25.)

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      A version of this image appears in the rebuttal report of Plaintiffs’
expert, Dr. Stanley Shanfield. (See ECF No. 169-7.) Although the image
itself was not introduced into evidence, it substantially reflects Dr.
Shanfield’s testimony and use of a similar demonstrative, the latter of which
is not available on the public docket, and was not filed by either party in
connection with these motions.

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         Dr. Randall then synthesized his visual analysis with

a textual reading of the Devoe Reference.    Defense counsel asked

Dr. Randall to elaborate on Devoe’s teaching that, “[b]y putting

the capacitance forming elements into the interior of the

ceramic capacitor, the present invention completely avoids the

issue of surface anomalies.”   (Id. 1738:1-2; Devoe Reference,

col. 9, ll. 43-46.)   Dr. Randall offered the following

interpretation:

         [B]y putting the capacitive forming elements -- which
         are the internal electrodes -- elements into the
         interior of the surrounding body -- so they’re inside,
         they’re in the interior -- the present invention
         completely avoids the issue of surface anomalies.

         So that’s just saying that the internal structure of
         the capacitor is buried at side; it does not extend to
         the outside of the dielectric anywhere on the device.

(Tr. 1738:4-12.)   In other words, “the internal metallizations

[i.e., electrodes] have to have less width and less length than

the first dielectric’s width and length.”    (Id. 1738:18-20.)

         Dr. Randall further opined that Devoe’s written

description of “electrodes buried within the three-dimensional

body of the capacitor,” connotes electrodes “encapsulated” by

the dielectric layers.   (Id. 1740:14-18.)   Put differently, Dr.

Randall said, “the internal electrodes’ length and width must be

less than the length and width of the dielectric layers.”      (Id.

1740:18-20.)   Thus, based on Devoe’s text and drawings, Dr.

Randall expected a POSITA in capacitors would understand that

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the length and width of the first electrode is lesser than the

length and width of the first dielectric layer length.         (Id.

1737:21-24, 1738:21-1739:1.)    In closing, Dr. Randall confirmed

his view that the Devoe Reference discloses the relevant

limitation of Claim 2.    (Id. 1738:21-1739:5.)

            Plaintiffs called upon Dr. Stanley Shanfield in

rebuttal.    At the outset, Dr. Shanfield emphasized that prior

art does not anticipate a patent absent “clear and convincing

evidence” that each and every element of the patent is expressly

taught by the earlier reference.      (Tr. 2116:25-2117:6; id.

2117:9-10 (“You can’t assume the presence of anything.         It’s got

to be explicit in the prior art.”).)      Applying the “clear and

convincing” standard, Dr. Shanfield opined that the Devoe

Reference does not explicitly teach the second element of Claim

2 (id. 2161:16-19), a “first electrode layer mounted on the

dielectric [that] is smaller in length and width than the

dielectric that it’s mounted on.”      (Id. 2161:24-2162:3.)

            Dr. Shanfield’s rebuttal challenged two core premises

underlying Dr. Randall’s opinion. First, according to Dr.

Shanfield, Dr. Randall’s reliance on the drawings in the Devoe

Reference, including Figure 2b, was misplaced.      Although the

Devoe Reference might show figures with “an electrode that is

shorter in length than the dielectric layer,” it is not clear

what the electrode “looks like in the direction into or out of

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the screen,” i.e. the width dimension.          (Tr. 2162:11-18.)12

According to Dr. Shanfield, Dr. Randall impermissibly assumed

the first electrode was smaller than “the dielectric dimension

in the other direction in to and out of the page,” i.e. width,

even though no such limitation is explicitly taught by the Devoe

Reference.     (Id. 2163:13-16.)     Dr. Shanfield thus disagreed with

Dr. Randall’s characterization of the drawings as three-

dimensional.     “[T]he two dimensional drawing[s] of the

capacitors,” Dr. Shanfield stated, “don’t tell you how long the

electrodes are relative to the dielectric in the dimension in

and out of the screen,” even though the claim term in the ‘791

Patent “requires that the electrode be both less wide and less

long” than the dielectric layer.          (Id. 2187:1-6 (emphasis

added).)13

             Second, Dr. Shanfield disputed Dr. Randall’s

definition of “buried,” as both unsupported and unduly narrow.

(Tr. 2164, 2166-67.)      Dr. Shanfield observed that Devoe does not


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      Dr. Shanfield suggested Devoe may not have been concerned with
maintaining a smaller length for the electrode because, “in many cases you
would want to match the length of that electrode with the dielectric layer in
that dimension to get maximum capacitance.” (Id. 2162:18-22.)
13
      Dr. Shanfield also noted that, where the Devoe Reference intends to
regulate the capacitor’s dimensions, it does so expressly. (See id. 2187:15-
22 (“[T]he point I take from this is that when Devoe wants to talk about
dimensions, he does, he brings it up, he’s specific about it. So, if he
wanted to specify that the width and length of electrodes in general was
always smaller or it was smaller in some case than the dielectric, he would
have said so and he didn't.”) (discussing Devoe Reference, col. 10, ll. 56-65
(“[T]he associated interior metallization plane(s) is (are) larger than are
the collective exterior metallization areas.”)).)


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define the term “buried.”       (Id. 2166:17-19 (“Q: Does the Devoe

‘443 patent provide any kind of definition, any definition for

the term buried? A: Not at all.”).)         Nor would a POSITA, in Dr.

Shanfield’s view, necessarily understand buried to mean

“completely covered or encapsulated[,]” rather than positioned

in a capacitor with “layers above and below it.”            (Id. 2167:6-

16.)   As an example, Dr. Shanfield noted that “buried

transmission lines” are generally partially exposed “to the

outside world,” in order to facilitate connections, despite

being described as buried.       (Id. 2167:9-13.)

           In sum, Dr. Shanfield expressed the opinion that the

Devoe Reference does not anticipate Claim 2 of the ‘791 Patent.

        B. Damages

                1. Plaintiffs’ Case

           Plaintiffs’ damages expert, Dr. James Woods, testified

that, between November 6, 2008, and January 9, 2017, Presidio

made or sold 15,369,246 BB capacitors that infringed the ‘791

and/or ‘547 Patents.      (Tr. 983:17, 987:6; ECF 220-4,

Demonstratives of Plaintiffs’ Damages Expert, Dr. James Woods,

PDX-008.20, 008.23.)14      Plaintiffs sought lost profits of

14
      Dr. Woods explained that the relevant damages period for the ‘791
Patent began on November 6, 2008, six years before Plaintiffs filed the
instant suit, in light of Presidio’s knowledge of the patent, and ended
approximately June or July of 2015, when Presidio removed the via components
from the accused devices. (Tr. 957:11-19.) The damages period for the ‘547
Patent began November 6, 2014, the date the suit commenced, and ended January
9, 2017, the last date for which Plaintiffs had Presidio’s sales data, as of
the trial. (Id. 957:21-25.) Plaintiffs are seeking supplemental damages for

                                     20
$18,802,967 as compensation for Presidio’s sales on 12,413,319

infringing units.     (Tr. 983:15-986:1, 987:22-25; ECF 220-4, PDX-

008.22.)    Dr. Woods justified this figure by presenting his

analyses and assumptions pursuant to the multi-factor test

articulated in Panduit Corp. v. Stahlin Bros. Fibre Works, Inc.,

575 F.2d 1152 (6th Cir. 1978).        (See generally Tr. 955-80.)         Dr.

Woods opined: (1) there was demand for the patented product; (2)

Presidio did not have an alternative non-infringing substitute

in the ultra broadband capacitor market; and (3) Plaintiffs had

the capacity to manufacture and market sufficient capacitors to

meet the needs of Presidio’s customers.          (Id.)

            Plaintiffs’ lost profits damages calculation excluded

2,955,927 infringing units that were altogether ineligible for

lost profits, either because Presidio did not sell them, or

because Plaintiffs had no competitive alternative to those

devices.    (Tr. 986:3-17; ECF No. 220-4, PDX-008.23.)           For this

subset of accused products, Plaintiffs sought a reasonable

royalty.    (Tr. 988:8-16.)     Dr. Woods explained that a reasonable

royalty award was comprised of two elements: a royalty base,

i.e. the number of infringing units, and a royalty rate.              (Id.

989:15-19.)    The minimum royalty award was the product of the

royalty base and royalty rate.        (Id. 989:19-21.)


infringing units made or sold since January 9, 2017.   (See generally Pls.’
Dmgs. Mot.)


                                     21
           Although barred by a pre-trial court order from

proffering a specific royalty rate for both Patents-in-suit,15

Dr. Woods discussed the factors for the jury to consider under

Georgia-Pacific v. U.S. Plywood Corp., 318 F. Supp. 1116, 1120

(S.D.N.Y. 1970) (“Georgia-Pacific”), a 15-factor analysis of a

hypothetical negotiation between the parties to reach an agreed

royalty rate.     (Tr. 990; see also ECF No. 220-4, PDX-008.27, -

008.34, -008.35.)     Dr. Woods’ testified as to the royalty rate,

applying the Georgia-Pacific factors to each Patent-in-suit, as

follows:

Factor No. 1: Established Royalty Rate.

           The Patents-in-suit had not been licensed at the time

of first infringement, so there was no established royalty rate.

(Tr. 994:6-12.)

Factor No. 2: Comparable Patents Licensed by Infringer.

           Presidio had not licensed comparable patents.            (Id.

994:19-20.)

Factor No. 3: Nature and Scope of the License.



15
      The court issued a pre-trial order granting Defendant’s motion pursuant
to Daubert v. Merrell Dow. Pharm., Inc., 509 U.S. 579 (1993), and striking
Dr. Woods’ royalty rate opinion. (See generally ECF No. 179, Memorandum and
Order, dated May 30, 2019.)   The court found the royalty rate articulated in
Dr. Woods’ expert report inadmissible because he inappropriately “combined
the plaintiffs and muddled their respective bargaining positions and
interests” in the course of his Georgia-Pacific analysis, “rather than
articulating and considering them separately.” (Id. 73.) The court’s Order
left the door open to testimony based on “portions of Dr. Woods’ report and
underlying opinion that can support a jury determination of a reasonable
royalty without Dr. Woods’ ultimate conclusion.” (Id.)


                                     22
         The hypothetical license would be a non-exclusive

license to sell the patented products.        (Id. 994:22-995:13

(“[A]t the same time, ATC could continue making its own

products, or it could license the patents to somebody else.”).)

As a result, this factor would exert downward pressure on the

royalty rate.   (Id. 995:10-13.)

Factor No. 4: Established Policy and Licensing Programs.

          ATC’s business was making ultra-broadband capacitors,

not licensing them, which would make ATC reluctant to license

the Patents-in-suit to Presidio.        (Id. 995:24-996:8.)   Whereas

the third factor would decrease the royalty rate, this factor

would militate in favor of a higher rate.        (Id. 996:5-8.)

Factor No. 5: Commercial Relationship Between the Parties.

         ATC would have known, at the time of a hypothetical

negotiation, that it would be entering the ultra-broadband

capacitor market and competing with Presidio.        (Id. 997:10-13.)

The parties would realize that Presidio’s sales of the patented

capacitors would cost ATC sales of its own.        (Id. 997:17-23.)

Dr. Woods opined that the prices for Presidio’s capacitors

generally ran $0.20 to $0.36 less than ATC’s for the “most

common-size capacitor.”   (Id. 1000:6-11.)

Factor No. 6: Derivative or Convoyed Sales.

          Dr. Woods generally found no evidence that ATC or

Presidio sold complementary products in tandem with sales of

                                   23
ultra-broadband capacitors, but noted that the benefit of

providing a full range of capacitors to customers “places some

of the pressure on the royalty rate.”     (Id. 1000:13-24.)

Factor No. 7: Duration of the Patent.

           Here, according to Dr. Woods, the license agreement

would be for the life of the Patents-in-suit, which would not

have a bearing on the royalty fee.     (Id. 1001:1-4.)

Factor No. 8: Profitability of the Product.

            Dr. Woods testified that ATC would know, as of the

hypothetical negotiation date, that Presidio would sell its

capacitors for about $1.36 a capacitor, and earn incremental

profits of approximately $0.90 cents per capacitor.      (Id.

1001:6-14.)

Factor Nos. 9-11: Advantages Over Substitutes; Nature and
Benefits of Patented Invention; Extent and Benefit From
Infringer’s Use of Patent.

           Dr. Woods grouped Georgia-Pacific factors 9, 10, and

11 together because, in his opinion, they essentially turn on

the same inquiry: “Can Presidio make an ultra-broadband

capacitor without using the technology of the ‘547 Patent or the

technology of the ‘791 Patent”?    (Id. 1001:18-1002:1.)      Based on

the testimony at trial, including Dr. Hillman’s and Mr. Devoe’s,

Dr. Woods concluded that Presidio could not manufacture an

ultra-broadband capacitor without the technology of the Patents-

in-suit.   (Id. 1002:2-5.)

                                  24
Factor No. 12: Customary Industry Royalties.

           Due to a lack of public information concerning similar

technology and pricing, Dr. Woods determined this factor had no

impact on the royalty analysis.    (Id. 1002:10-17.)

Factor No. 13: Portion of Profit Related to Invention.

            The next factor turned on the portion of Presidio’s

profits on sales of the infringing capacitors attributable to

the patented technology, as opposed to other components not in

dispute.   (Id. 1002:18-22.)   Dr. Woods juxtaposed Presidio’s BB

capacitors, which typically sold for $1.36, at an incremental

profit of $0.90, with non-ultra-broadband capacitors, which “can

sell for as little as ten cents apiece.”      (Id. 1003:1-5.)   Based

on the comparison, Dr. Woods concluded that, “a substantial

portion of the profit is related to the fact the [patented]

technology allows products to participate in the ultra-broadband

market.”   (Id. 1002:23-25.)

Factor No. 14: The Opinion of Qualified Experts.

           Dr. Woods considered the opinions of Dr. Hillman in

preparing his analysis.   (Id. 1003:12-14.)

Factor No. 15: Reasonable Royalty.

           Consistent with this court’s pre-trial order, without

stating a royalty figure, Dr. Woods envisioned that a

hypothetical licensing negotiation between Presidio and AVX,

which held the ‘547 Patent, would unfold as such:

                                  25
          [A]t the height of the negotiation the parties would
          understand that Presidio needs a licensed manufacturer
          to do BB capacitors. . . . [T]he parties would
          understand the demand for ultra-broadband capacitors
          would be expected to grow along with the demand for
          high-speed optical networks.   In other words, at the
          time of the negotiation, they would understand sales
          are very small, but sales are going to be a lot bigger
          because the demand optical networking equipment is
          going to grow dramatically.

(Tr. 1004:7-16.)    Furthermore, the parties would realize that,

while AVX was not, and had no intention of becoming a

participant in the ultra-broadband market, AVX and Presidio were

still competitors in the general capacitor market.    (Id. 1005:2-

6.)   The parties would further understand that Presidio would

generate approximately $0.90 in incremental profit per unit,

which would comprise the income stream to pay for the royalty.

(Id. 1005:9-12.)

          A hypothetical negotiation concerning the ‘791 Patent

would follow a similar course, except ATC, the patentee, would

know at the time that it was entering the ultra-broadband

capacitor market, and thus direct competition with Presidio.

(Tr. 1006:1-6.)    ATC would also know that Presidio would market

the ultra-broadband capacitor, and sell it, on average, for

$0.20 to $0.36 less than ATC would charge for a similar

capacitor.   (Id. 1006:14-19.)

          Notwithstanding the above analysis, Dr. Woods

testified that lost profits represented the superior measure of


                                 26
damages in this case, at least with respect to the over 12

million infringing units eligible for such relief.     (Id. 1010:5-

18.)

             2. Defendant’s Case

         Dr. Vincent Thomas provided expert testimony on

damages for Presidio.   Dr. Thomas first rebutted Dr. Woods’ lost

profits analysis, particularly his assumptions concerning the

relevant “but for” market.   (Tr. 2042-43.)    In Dr. Thomas’

opinion, there was little to suggest that customers were

demanding capacitors with vias or L-shaped terminations, the

inventive aspects of the Patents-in-suit.     (Id. 2043:10-15.)

Nor did Dr. Thomas detect any market for licensing the Patents-

in-suit, aside from ATC’s licensure of the ‘547 Patent from AVX.

(Id. 2043:15-17.)   In addition, it was Dr. Thomas’ understanding

that the Patents-in-suit were not essential to the manufacture

of ultra-broadband capacitors, and indeed, ATC itself did not

use the Patents-in-suit for its products.     (Id. 2044:13-15.)

         Dr. Thomas further posited, based on information

gleaned from Presidio, that its customers were not “concerned or

complaining about products that don’t have vias.”     (Tr. 2044:19-

2045:1; accord id. 2046:5-8 (“Presidio has been selling products

without vias for close to ten years and all of its . . .

capacitors currently do not have vias and I understand the




                                27
market accepts those products just fine.”).)16          If Presidio had

not, as alleged, infringed the Patents-in-suit, Dr. Thomas

believed Presidio “would have simply redesigned their products

to not include vias or not include L-shaped termination with

negligible material,” rather than take them off the market.

(Id. 2062:10-17.)       Dr. Thomas testified that, absent the

alleged infringement, Presidio would have made the same amount

of sales and, by the same token, those sales would not have

simply flowed to Plaintiffs.        (Id. 2062:17-19.)

           Dr. Thomas also opined that a hypothetical license

agreement allowing Presidio to sell the patented technology

would have merited a reasonable royalty of only $0.01 for each

of the ‘547 and ‘791 Patents.        (Tr. 2036:18-2037:1; see also id.

2082:12-15 (discussing “very similar” factors dictating

reasonable royalty analysis for ‘547 and ‘791 Patents).)17             Dr.

Thomas’s Georgia-Pacific analysis was as follows:

Factor Nos. 3 and 7

16
      Dr. Thomas’ opinions in this regard were either based on, or echoed,
the testimony of Presidio’s other trial witnesses. (See, e.g., id. 1144:18-
25 (Alan Devoe: “[T]he BB 0402 without vias is one of our best performing
products that we make. It’s better than the other products that were
slightly different sizes that had the vias in them. . . . It’s a very
successful product for us, the BB 0402 without vias.”); id. 1823:19-22 (Dr.
Randall: “[I]n the whole group in general, even though there is variation in
the group, definitely the 0302 BBs without vias perform significantly better
than the 0302 BBs with vias.”); cf. id. 500:21-23 (Andrew Ritter, engineer
employee for Plaintiffs, regarding ‘547 Patent: (“[It i]s my understanding
that AVX does not inspect whether there’s a certain amount of termination
material on the top surface.”).)
17
      The royalty was additive (i.e., $0.02), if Presidio made or sold a
product that incorporated technology from both Patents-in-suit. (Id. 2037:2-
5.)


                                     28
         In a hypothetical negotiation, the parties would first

want to know what is being licensed and for how long.          (Id.

2073:13-18.)    Presidio would understand that it was negotiating

the terms of a non-exclusive, “bare patent license,” whereby AVX

or ATC provide mere usage rights for the patented technology,

but nothing else in terms of development time, know-how, or

manufacturing capabilities.    (Id. 2073:22-2074:3; accord id.

2082:12-15.)

Factor Nos. 9, 10, and 14

         When focusing on the inventive aspects of the Patents-

in-suit, Dr. Thomas relied on Dr. Randall and others to guide

his analysis.    (Id. 2074:9-19.)    Dr. Thomas noted that AVX’s

Accu-P capacitor embodied the ‘547 Patent, but he could not

ascertain what incremental value the patented technology

contributed to the Accu-P product.       (Id. 2075:16-20.)     It was

also Dr. Thomas’ understanding that Accu-P products generally

sold in the range of $0.09 to $0.14.       (Id. 2075:21-24.)     As for

the ‘791 Patent, a hypothetical negotiation between Presidio and

ATC would center on the use of vias.       (Id. 2083:16-18.)     Dr.

Thomas also “didn’t see significant value attributable to the

use of vias.”    (Id. 2082:19-20.)

Factor Nos. 6, 8, 11, and 13

         The composite of these factors essentially considers

the profitability of the patented products, whether sales of

                                    29
patented products result in additional sales, and whether the

infringer made use of the invention.     (Id. 2076:3-10.)     Factor

13 was the most critical factor, in Dr. Thomas’ view, because it

concerned the profitability attributable to the patented

technology.    (Id. 2076:11-17.)   According to Dr. Thomas, the

principal flaw in Dr. Woods’ analysis was his assumption that

Presidio could not sell ultra-broadband capacitors without using

the patented technology.    (Id. 2077:8-13.)   Dr. Thomas believed

that, in a hypothetical negotiation, and confronted by a high

royalty demand from AVX or ATC, Presidio would have responded by

removing, at low cost to Presidio, the inventive aspects of the

Patents-in-suit: the L-shaped termination and negligible

material at the top termination (‘547 Patent), or the vias (‘791

Patent).   (Id. 2078:14-19; id. 2082:25-2083:3.)    In that

scenario, AVX and ATC’s negotiating leverage would erode

substantially, and Plaintiffs “wouldn’t get anything.”        (Id.

2079:19-20.)

Factor Nos. 1, 2, and 12

           Dr. Thomas agreed with Dr. Woods that these factors

were irrelevant to a hypothetical licensing negotiation between

Presidio and either ATC or AVX.     (Tr. 2079:17-2080:2.)

Factor No. 5

           Dr. Thomas acknowledged that there was “some

competitive relationship” between Presidio and AVX, but

                                   30
ultimately concluded that any resultant upward pressure on the

royalty would be mitigated because the competition was outside

of the ultra-broadband capacitor market.       (Id. 2080:9-16.)   ATC

and Presidio directly competed in the ultra-broadband capacitor

market, but that competition post-dated the hypothetical

negotiation date, and would likewise be mitigated by Presidio’s

access to a readily-available alternative to the patented

technology.     (Id. 2083:4-12.)

Factor No. 15

          Based on the patented technology’s de minimis benefit

to Presidio, and the low cost of an alternative design, Dr.

Thomas opined that Presidio would have agreed with AVX and ATC,

respectively, to a $0.01 per unit royalty as a “very reasonable

rate.”   (Id. 2081:9-14; accord id. 2083:23-2084:2.)       Applying

that rate would yield damages of $31,538 for the 3,153,827 units

that infringed the ‘547 Patent, and $127,120 for the over 12.7

million units that infringed the ‘791 Patent, for total damages

of $158,658.     (Id. 2088:20-2089:3.)

                3. Jury Verdict

          On June 21, 2019, the parties made their closing

arguments.     Plaintiffs’ counsel, Peter Snell, Esq., urged the

jury to award Plaintiffs lost profits damages of $12,226,594 and

$6,576,373 for Presidio’s infringement of the ‘791 and ‘547

Patents, respectively.     (Tr. 2341:12-15.)   Mr. Snell

                                   31
acknowledged that lost profits were not available for nearly 3

million infringing units that Presidio either did not sell, or

were not sold by ATC or AVX.     (Id. 2341:21-2342:3.)    For these

units, Mr. Snell explained, Plaintiffs were nonetheless

statutorily entitled, at a minimum, to a reasonable royalty.

(Id. 2342.)     Mr. Snell advocated the jury adopt a royalty of

$0.25.   (Id. 2343:12.)    He touted this figure as “split[ting]

that difference” between $0.20 and $0.36, the price range by

which Presidio’s ultra-broadband capacitors undercut ATC’s

products.     (Id. 2343:3-12.)   Mr. Snell advised the jury that the

arithmetic of Plaintiffs’ proposed royalty rate, applied to the

nearly 3 million units ineligible for lost profits damages,

worked out to $58,334.75 for the ‘547 Patent, and $680,647 for

the ‘791 Patent.     (Id. 2343:19-23 (emphasis added).)

            Later that afternoon, the court gave the jury

instructions following a charging conference with counsel.        (Tr.

2415-70.)     As pertinent here, the court charged:

            If you find that ATC and AVX have established
            infringement, ATC and AVX are entitled to at least a
            reasonable royalty to compensate them for that
            infringement, in addition to lost profits. If you find
            that ATC and AVX have not proved their claims for lost
            profits, or have proved their claim for lost profits
            for only a portion of the infringing sales, then you
            must award ATC and AVX a reasonable royalty for all
            infringing sales for which they have not been awarded
            lost profits damages.




                                   32
(Id. 2461:22-2462:5.)     Instructions wrapped up at approximately

6:00 p.m., whereupon the jury retired to deliberate.        (Id.

2471.)   The jurors were provided with a verdict sheet and a

written copy of the court’s instructions, including the

instruction above.     (Id. 2470; ECF No. 191, Final Jury

Instructions (Court Exhibit 2), Nos. 31, 40; ECF No. 191-1,

Final Verdict Sheet (Court Exhibit 2A).)

            At approximately 10:00 p.m. that evening, the jury

reached a verdict.     The jury found Presidio liable on all 19

infringement claims.     (Tr. 2478-79; Completed Verdict Form,

Question Nos. 1 and 2.)     The jury also found that Presidio

failed to prove by clear and convincing evidence that Claim 2 of

the ‘791 Patent was invalid as anticipated by the Devoe

Reference.    (Tr. 2480; Completed Verdict Form, Question No. 6.)

With respect to damages, the jury did not award Plaintiffs lost

profits for the Patents-in-suit.       (Tr. 2481; Completed Verdict

Form, Question No. 13.)     For Question 14 on the Verdict Form,

regarding Plaintiffs’ entitlement to reasonably royalty damages,

the jury entered $58,334.75 for the ‘547 Patent, and $680,647.00

for the ‘791 Patent.     (Tr. 2481:14-18; Completed Verdict Form,

Question No. 14.)    After the court published the verdict in the

courtroom, the jurors were polled, and then discharged.        (Tr.

2481-82.)    Plaintiffs did not object to the verdict before the

jurors were excused from the courtroom.

                                  33
                              DISCUSSION

I.   Presidio’s Motion for JMOL or a New Trial

            Presidio seeks a judgment as a matter of law,

notwithstanding the verdict, that Presidio’s BB capacitors do

not infringe Claim 2 of the ‘791 Patent, and moreover, that the

Devoe Reference anticipates, and thus invalidates, the ‘791

Patent.    (See generally Def.’s Mot. 1-2, 4-19.)   Alternatively,

Presidio asserts the court should retry the issues of

infringement and anticipation.    (Id. 20-21.)   For the reasons

below, the jury’s infringement and invalidity findings stand

because they were supported by legally sufficient evidence, and

were not seriously erroneous.    Presidio’s motion must therefore

be DENIED.

          A. Standards Governing the Motion

            When deciding issues in a patent case, a district

court applies the law of the circuit in which it sits to non-

patent issues, and the law of the Federal Circuit to issues of

substantive patent law.    Easyweb Innovations, LLC v. Twitter,

Inc., No. 11CV4550JFBSIL, 2016 WL 1253674, at *24 (E.D.N.Y. Mar.

30, 2016), aff’d, 689 F. App'x 969 (Fed. Cir. 2017); Duro-Last,

Inc. v. Custom Seal, Inc., 321 F.3d 1098, 1106 (Fed. Cir. 2003)

(citations omitted).    The Federal Circuit has generally applied

regional circuit law to questions pertaining to Rule 50 motions.

See, e.g., Zodiac Pool Care, Inc. v. Hoffinger Indus., Inc., 206

                                  34
F.3d 1408, 1416 (Fed. Cir. 2000) (applying regional circuit law

for JMOL motion at close of evidence).     The Federal Circuit also

applies regional circuit law when entertaining motions for a new

trial under Federal Rule of Civil Procedure 59(a).     See, e.g.,

Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1309 (Fed.

Cir. 2009).

              1. Judgment as a Matter of Law

          A court may grant judgment as a matter of law against

a party if “a reasonable jury would not have a legally

sufficient evidentiary basis to find for [that] party on that

issue.”   Fed. R. Civ. P. 50(a).    “A post-trial Rule 50(b) motion

is properly made only if a Rule 50(a) motion has been made

before submission of the case to the jury.”     Protostorm, LLC v.

Antonelli, Terry, Stout & Krauss, LLP, No. 08-CV-931 PKC JO,

2015 WL 3605143, at *3 (E.D.N.Y. June 5, 2015), aff’d sub nom.

Protostorm, LLC v. Antonelli, 673 F. App’x 107 (2d Cir. 2016)

(citation omitted).   Because a motion pursuant to Rule 50(b) “is

in reality a renewal of a motion” pursuant to Rule 50(a),

Lambert v. Genesee Hosp., 10 F.3d 46, 53–54 (2d Cir. 1993)

(citation omitted), the grounds on which a party may rely in a

Rule 50(b) motion are “limited to those grounds that were

specifically raised in the prior [Rule 50(a) motion].”

Galdieri–Ambrosini v. Nat’l Realty & Dev. Corp., 136 F.3d 276,

289 (2d Cir. 1998)); see Exxon Shipping Co. v. Baker, 554 U.S.

                                   35
471, 485 n.5 (2008).18      Three options abound when a district

court rules on the renewed motion: “(1) allow judgment on the

verdict, if the jury returned a verdict; (2) order a new trial;

or (3) direct the entry of judgment as a matter of law.”

Aguilar v. Ham N Eggery Deli Inc., No. 15CV2781KAMSMG, 2019 WL

4247228, at *2 (E.D.N.Y. Sept. 5, 2019) (citing Fed. R. Civ. P.

50(b)).

            Courts evaluating a Rule 50 motion are required to

consider the evidence in the light most favorable to the non-

moving party, and to give that party “the benefit of all

reasonable inferences that the jury might have drawn in [its]

favor from the evidence.”       Aguilar, 2019 WL 4247228, at *2

(quoting ING Glob. v. United Parcel Serv. Oasis Supply Corp.,

757 F.3d 92, 97 (2d Cir. 2014)).          A jury verdict may be set

aside pursuant to Rule 50, “only where there is such a complete

absence of evidence supporting the verdict that the jury’s

findings could only have been the result of sheer surmise and

conjecture, or there is such an overwhelming amount of evidence

in favor of the movant that reasonable and fair minded [persons]

could not arrive at a verdict against him.”           Bucalo v. Shelter

Island Union Free Sch. Dist., 691 F.3d 119, 127–28 (2d Cir.

2012) (internal quotation marks and citation omitted).

18
      Presidio properly moved for JMOL on the precise grounds at issue here,
before the case was submitted to the jury. (See Tr. 1062; 1068:18-1069:4 (co-
extensiveness); id. 2173:16-20 (anticipation).)


                                     36
         A court must also “give deference to all credibility

determinations and reasonable inferences of the jury, and may

not weigh the credibility of witnesses or otherwise consider the

weight of the evidence.”     Id. (internal quotation marks and

citation omitted).   A motion for JMOL does not afford the losing

party at trial a redo.     Thus, a Rule 50 motion that effectively

“asks the court to reweigh conflicting evidence, a function

belonging to the jury,” is ripe for denial.     PPC Broadband, Inc.

v. Corning Optical Commc’ns RF, LLC, 193 F. Supp. 3d 133, 141

(N.D.N.Y. Jun. 16, 2016).

             2. Motion for a New Trial

         The standard for granting a new trial pursuant to

Federal Rule of Civil Procedure 59 is “somewhat less stern” than

for entry of JMOL.   AMW Materials Testing, Inc. v. Town of

Babylon, 584 F.3d 436, 456 (2d Cir. 2009) (citing Nimely v. City

of N.Y., 414 F.3d 381, 392 (2d Cir. 2005)).     “A district court

may grant a new trial pursuant to Rule 59 even when there is

evidence to support the jury’s verdict, so long as the court

‘determines that, in its independent judgment, the jury has

reached a seriously erroneous result or its verdict is a

miscarriage of justice.’”     Id.; accord Mugavero v. Arms Acres,

Inc., 680 F. Supp. 2d 544, 558 (S.D.N.Y. 2010) (to grant a new

trial, the court “must conclude that the jury has reached a

seriously erroneous result or that the verdict is a miscarriage

                                  37
of justice, i.e., it must view the jury’s verdict as against the

weight of the evidence.”) (ellipses and brackets omitted)

(citing Manley v. AmBase Corp., 337 F.3d 237, 245 (2d Cir.

2003)).

            Although Rule 59(a) allows the court to revisit trial

evidence, it is not a permission slip to “ignore the jury’s role

in resolving factual disputes and assessing witness

credibility.”    Mugavero, 680 F. Supp. 2d at 558-59 (citation

omitted); see Raedle v. Credit Agricole Indosuez, 670 F.3d 411,

418 (2d Cir. 2012) (holding that the jury’s evaluation of

witness credibility merits a “high degree of deference,” and

“jury verdicts should be disturbed with great infrequency”),

cert. denied, 568 U.S. 1068 (2012).    A trial judge “may not

freely substitute his or her assessment of the credibility of

witnesses for that of the jury simply because the judge

disagrees with the jury.”    Raedle, 670 F.3d at 418 (citation

omitted).

          B. The Infringement Verdict is Supported by Legally
             Sufficient Evidence

                1. Infringement Standard

            Patent infringement generally consists of making,

using, offering to sell, or selling any patented invention

without authority.    35 U.S.C. § 271(a).   Once the scope of the

patent’s claims are determined as a matter of law, “the properly


                                  38
construed claims are compared to the allegedly infringing device

to determine, as a matter of fact, whether all of the

limitations of at least one claim are present . . . in the

accused device.”     Mich & Mich. TGR, Inc. v. Brazabra, Corp., 128

F. Supp. 3d 621, 631 (E.D.N.Y. 2015), aff’d sub nom. Mich & Mich

TGR, Inc. v. Brazabra Corp., 657 F. App’x 971 (Fed. Cir. 2016)

(quoting Teleflex, Inc. v. Ficosa N. Am. Corp., 299 F.3d 1313,

1323 (Fed. Cir. 2002)).19      To prove infringement, the claimant

bears the burden to show by a preponderance of the evidence that

every element of one or more patent claims is present in the

accused device.     Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d

1292, 1301 (Fed. Cir. 2011); Siemens Med. Sols. USA, Inc. v.

Saint-Gobain Ceramics & Plastics, Inc., 637 F.3d 1269, 1279

(Fed. Cir. 2011) (citations omitted).         The burden of proof

remains with the plaintiff through all stages of the litigation.

See Tech. Licensing Corp. v. Videotek, Inc., 545 F.3d 1316, 1327

(Fed. Cir. 2008).

                2. Construction of “Co-extensive”

           Presidio’s challenge to the verdict centers on Claim

2’s “co-extensive” element.       In a nutshell, Presidio asserts the

jury’s infringement finding should be cast aside because

Plaintiffs failed to prove that the first and second dielectric


19
      While Second Circuit precedent controls the application of Rules 50 and
59 to this case, Federal Circuit law is instructive regarding patent law
issues. See Protostorm, 2015 WL 3605143, at *6.

                                     39
layers of Presidio’s BB capacitors were exactly equal to one

another in length and width.     (Def.’s Mot. 1-2.)    Inherent in

Presidio’s argument, is the assumption that “co-extensive” is

defined as having equal dimensions.

           Whether Presidio’s BB capacitors featured a co-

extensive first and second dielectric layers, as Claim 2

requires, was a hotly contested subject at trial.        Plaintiffs’

expert, Dr. Hillman, testified that a POSITA would understand

that the first and second dielectric layers are “co-extensive”

when “at the interface where they meet they extend over the same

area.”    (Tr. 650:10-12; id. 727:2-731:4.)   The interface here, a

metal electrode about 1/20th as thick as a human hair, is “[s]o

thin that [the dielectric layers] are practically in contact

with each other.”    (Id. 729:4-21.)   Presidio argues that Dr.

Hillman’s testimony regarding co-extensiveness baselessly

imported a “common space” limitation into the scope of the ‘791

Patent.    (Def.’s Mot. 12 (“Nowhere in the ‘791 patent is there

mention of “common space.”).)     Instead, Presidio insists that

co-extensiveness must be determined by the “total, or actual,

length and width” of the dielectric layers.      (Id.)

           As a threshold matter, neither party identified “co-

extensive” as a term that the court was required to construe,

either before or during trial.     (See generally Cl. Constr.

Order; ECF No. 136, Second Cl. Constr. Order.)        Consequently,

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the court did not instruct the jury to apply a specific meaning

for the term.   (See Final Jury Instructions, No. 19 (instructing

jury to accept court’s definitions of “different level of

polarity” and “a margin outward of the first electrode layer,”

but omitting instruction with respect to “co-extensive”).)     The

Federal Circuit has “repeatedly explained, [that] ‘litigants

waive their right to present new claim construction disputes if

they are raised for the first time after trial.’”   Lazare Kaplan

Int'l, Inc. v. Photoscribe Techs., Inc., 628 F.3d 1359, 1376

(Fed. Cir. 2010) (quoting Broadcom Corp. v. Qualcomm Inc., 543

F.3d 683, 694 (Fed. Cir. 2008)); accord Alarm.com, Inc. v.

SecureNet Techs., LLC, No. CV 15-807-RGA, 2019 WL 3996883, at *8

(D. Del. Aug. 23, 2019) (“Plaintiffs did not [object to the

testimony or request that the court further modify or clarify

the construction], and thus are attempting to present a new

claim construction dispute for the first time after trial.

Plaintiffs have waived that right.”).

         Nor did Presidio object to Dr. Hillman’s definition of

co-extensive as an improper construction of that term, which, in

any event, was fully previewed by Dr. Hillman in his expert

report, served April 19, 2017.   (See ECF No. 227-10, Expert

Report of Dr. Craig Hillman, ¶ 79 (“Further, it is my opinion

that for all accused BB capacitors, the length and width

dimensions of the second dielectric layer, . . . are co-

                                 41
extensive (extending over the same area) with the length and

width dimensions, respectively, of the first dielectric layer .

. . .”) (emphasis added).)    Presidio thus “implicitly conceded

that the term [“co-extensive”] is to be accorded its plain and

ordinary meaning.”    Reckitt Benckiser Pharm. Inc. v. Watson

Labs., Inc., No. CV 13-1674-RGA, 2017 WL 3820943, at *2 (D. Del.

Aug. 31, 2017) (“I am far from sympathetic to [defendant] given

that they knew of Teva’s construction well before my

judgment.”), aff’d sub nom. Indivior Inc. v. Dr. Reddy’s Labs.,

S.A., 930 F.3d 1325 (Fed. Cir. 2019).    That is exactly how the

court instructed the jury to proceed with respect to all

undefined terms, including “co-extensive.”    (Final Jury

Instructions, No. 19 (“For any words in the claim for which I

have not provided you with a definition, you should apply their

common meaning.”).)    Notably, Presidio did not object to the

court’s “common meaning” instruction at the charging conference.

(See Tr. 1915.)

         To the extent the jury considered Plaintiffs’ asserted

“common space” limitation as part of the “co-extensive” term’s

common meaning, Presidio has waived any challenge to the verdict

on that basis.

             3. Evidence of Infringement

         There was sufficient evidence to support the jury’s

determination that Presidio’s BB capacitors infringed Claim 2

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and, therefore, met the co-extensive limitation.   Dr. Hillman

amply supported his testimony with approximately 100 microscopic

images of accused devices, demonstrating that the dielectric

layers of the BB capacitors are co-extensive because they are

equal in length where they share a common area.    (Tr.

729:22:730:25; e.g., PDX-5.110-5.113.)   Dr. Randall’s testimony

to the contrary does not alter this result.   It was the province

of the jury to assess each expert’s credibility, and having done

so, it presumably attached greater weight to Dr. Hillman’s

testimony.   “[F]aced with competing expert testimony on the

question of whether” the dielectric layers were co-extensive,

“‘the jury was free to disbelieve [Presidio’s expert] and credit

[Plaintiffs’] expert.’”   Intellectual Ventures I LLC v. Motorola

Mobility LLC, 870 F.3d 1320, 1327 (Fed. Cir. 2017) (quoting i4i

Ltd. P'ship v. Microsoft Corp., 598 F.3d 831, 850 (Fed. Cir.

2010)); see also Edwards Lifesciences AG v. CoreValve, Inc., 699

F.3d 1305, 1313 (Fed. Cir. 2012) (when “testimony at trial [is]

in direct conflict, . . . the court may not weigh the evidence,

determine the credibility of witnesses, or substitute its

version of the facts for the jury’s version”); Zhiwen Chen v.

Cty. of Suffolk, 927 F. Supp. 2d 58, 67 (E.D.N.Y. 2013) (holding

that “it would be improper to grant a new trial under these

circumstances as the issue of the force exercised by defendants

was dependent on the assessment of the credibility of the

                                43
witnesses”) (citation omitted).    The court cannot, and will not,

disturb the jury’s credibility determination.

         Moreover, even if Defendant’s preferred definition of

co-extensive had been applied, both JMOL and a new trial would

be unjustified because Plaintiffs convincingly demonstrated that

the first and second dielectric layers have equal dimensions.

Dr. Randall supported his non-infringement opinion, that the

accused products’ dielectric layers are not equal in length and

width, with a series of magnified images that appeared to show

the bottom left and bottom right sections of the dielectric

layers in a state of misalignment.     (ECF No. 227-3, PDX-005.127;

Tr. 1893; see also ECF No. 227-6, Trial Exhibit CQ.)     Presidio

also highlighted the impact of “corner rounding,” its

manufacturing process whereby the capacitors’ corners are sanded

down and rounded, in order to protect the ceramic from cracking.

(Tr. 1148-63.)   According to Presidio, corner rounding shortens

the second dielectric layer vis-à-vis the first dielectric

layer, resulting in varied dimensions.

         Plaintiffs proffered substantial evidence, however,

showing that the dielectric layers were equal, even under

Presidio’s framework, and effectively discredited Dr. Randall’s

testimony.   First, using a demonstrative, Dr. Hillman explained

how Presidio employs a “dicing” process to manufacture the BB

capacitors, which “naturally” results in dielectric layers of

                                  44
equal length and width.   (Tr. 370:4-9 (“But let’s remember how

we talk about the manufacturing process. It’s like a layer cake,

you put down one on top of the other, and then they are cut.

They are diced. Hundreds, if not thousands, of capacitors are

all cut. And all the capacitors and all the layers have the same

length and the same width.”); ECF No. 228-4, PDX-005.110-5.113.)

         Second, Dr. Hillman explained how Dr. Randall’s

contentions unraveled in the face of Presidio’s own documents

and admissions.   Specifically, Presidio admitted in its

responses to Plaintiffs’ Requests for Admission that two

exemplar images of Presidio’s BB capacitors, subsequently

introduced at trial and relied on by Dr. Hillman, exhibited co-

extensive dielectric layers.     Similarly, the very images of

corner rounded capacitors that Dr. Randall relied on undermined

Presidio’s theory that corner rounding somehow resulted in

incongruent dielectric layers.     As Dr. Hillman noted, the

dielectric layers in these images fall within Presidio’s stated

“tolerances” for length and width variation, and are therefore

co-extensive by Presidio’s standards.

         Third, Dr. Hillman discredited Dr. Randall’s

“impossible standard” of measurement.     (Tr. 745:24-25.)     The

gist of Dr. Hillman’s critique was that, with enough

magnification, some difference in measurement will always be

detectable. Dr. Randall relied on dimensional variations in

                                  45
Presidio’s dielectric layers that are about 1/20th of what the

industry would actually recognize as a “difference.”    (See id.

747:21-748:12.)   Dr. Hillman reasonably inferred that Presidio

itself would not, as a practical matter, endorse Dr. Randall’s

“impossible” standards.   (Id. 745:24-25.)

          Fourth, Dr. Hillman drew attention to Dr. Randall’s

reliance on improperly cross-sectioned capacitor images.     Using

a demonstrative, Dr. Hillman noted how one of Dr. Randall’s

images purported to display incongruent dielectric layers, but

in reality, presented a two-dimensional cross section in which

an artifact (e.g., a piece of metal) intruded on one of the

dielectric layers, giving the appearance of a disparity.     Had

the image been properly cross-sectioned, Dr. Hillman testified

that the supposed disparity would have disappeared.    (Tr. 744:3-

14.)   Dr. Hillman additionally noted that some capacitors in Dr.

Randall’s relied-on images were atypical of their lot, and

contained artifacts that the bulk of capacitors did not.

          In sum, the jury’s determination that Presidio’s BB

capacitors conformed to the “co-extensive” limitation in Claim

2, was supported by sufficient evidence, and not seriously

erroneous.   Therefore, neither JMOL nor a new trial are merited

with respect to the infringement verdict.

        C. The Invalidity Verdict is Supported by Legally
           Sufficient Evidence


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            Presidio also advanced four distinct invalidity

defenses at trial, only one on which is presently of concern.20

Presidio contended that Claim 2 was invalid as anticipated by

the Devoe Reference, which describes a “ceramic chip capacitor.”

The instant dispute centers on Devoe’s use of the word “buried,”

in connection with its limitation that the internal electrodes

are “buried within the three-dimensional body of the capacitor.”

(See Devoe Reference, col. 9, ll. 13-17.)          According to

Presidio, this language encompasses Claim 2’s limitation that

the length and width of first electrode layer be smaller than

the length and width of the first dielectric layer, on which it

is mounted.    In other words, Presidio contends a “buried” first

electrode is subsumed “in all three dimensions” by the first

dielectric layer, including length and width, exactly as the

‘791 Patent requires.      (Def.’s Mot. 18 (emphasis omitted).)

                1. Anticipation Standard

             A defendant in a patent infringement suit may attack

the validity of the patent itself, regardless of whether it

disputes the underlying infringement claim.           35 U.S.C. § 282(b).

To do so, a defendant carries the heavy burden of proving the

patent’s invalidity by clear and convincing evidence, Microsoft

20
      In addition to the anticipation defense at issue, Presidio sought to
invalidate the ‘791 Patent as anticipated by U.S. Patent Nos. 6,034,864 and
5,757,611 (the “Gurkovich” and “Naito” references), and as obvious by a
combination of the Naito and Devoe references. (See Final Verdict Sheet,
Question Nos. 4, 5, 7.)


                                     47
Corp. v. I4I Ltd. P’ship, 564 U.S. 91, 111 (2011), meaning

evidence that instills in the court an “abiding conviction” that

the patent’s invalidity is highly probable.     ActiveVideo

Networks, Inc. v. Verizon Commc’ns, Inc., 694 F.3d 1312, 1327

(Fed. Cir. 2012).   “The burden to establish invalidity of a

patent on a motion for JMOL is ‘doubly high’ because the movant

must show that ‘no reasonable jury could have failed to conclude

that [invalidity] had been established by clear and convincing

evidence.’”   Adrea, LLC v. Barnes & Noble, Inc., No. 13 CIV.

4137(JSR), 2016 WL 859685, at *4 (S.D.N.Y. Feb. 24, 2016)

(citing Boehringer Ingelheim Vetmedica, Inc. v. Schering-Plough

Corp., 320 F.3d 1339, 1353 (Fed. Cir. 2003)).

         To prove anticipation, the defendant must prove by

clear and convincing evidence “that a single prior art reference

not only discloses all of the elements of the claim within the

four corners of the document, but also discloses those elements

arranged as in the claim.”   Cheese Sys., Inc. v. Tetra Pak

Cheese & Powder Sys., Inc., 725 F.3d 1341, 1351 (Fed. Cir. 2013)

(internal quotation marks and alterations omitted).     The

reference may disclose the elements of the claim either

“expressly or inherently.”   Trintec Indus., Inc. v. Top–U.S.A.

Corp., 295 F.3d 1292, 1295 (Fed. Cir. 2002).     (See also Final

Jury Instructions, No. 26 (“A claim is anticipated only if each

and every element as set forth in the claim is found, either

                                48
expressly or inherently described, in a single prior art

reference.”).)    “Inherent anticipation requires that the missing

descriptive material is ‘necessarily present,’ not merely

probably or possibly present, in the prior art.”          Id. (citations

omitted); see also Bettcher Indus., Inc. v. Bunzl USA, Inc., 661

F.3d 629, 639 (Fed. Cir. 2011) (inherent anticipation “may not

be established by probabilities or possibilities”).          “The

dispositive question regarding anticipation is whether one

skilled in the art would reasonably understand or infer from the

prior art reference’s teaching that every claim limitation was

disclosed in that single reference.”        Akamai Techs., Inc. v.

Cable & Wireless Internet Servs., Inc., 344 F.3d 1186, 1192

(Fed. Cir. 2003) (internal quotation marks and alterations

omitted).

                2. Evidence of Anticipation

            Based on the trial record, the jury had before it

sufficient evidence to reasonably find the Devoe Reference did

not disclose all elements of Claim 2, specifically, an electrode

layer smaller than the first dielectric layer in the length and

width dimensions.21    The parties offered conflicting anticipation

testimony by two experts, Dr. Randall for Presidio, and Dr.

21
      Presidio claims Plaintiffs conceded at trial that the Devoe Reference
teaches each limitation of Claim 2, except the limitation at issue. (Def.’s
Mot. 17.) Plaintiffs contest this point. (Pls.’ Opp. 14 (“Dr. Shanfield did
not say that Devoe is only missing one element of claim 2.”).) The dispute
is of no moment, however, because the failure to expressly or implicitly
disclose just one element of a prior art reference precludes anticipation.


                                    49
Shanfield for Plaintiffs.     Dr. Randall testified that the term

“buried,” as used in the Devoe Reference, means “encapsulated,”

such that “the internal electrodes’ length and width must be

less than the length and width of the dielectric layers.”        (Tr.

1740:9-20.)    Although Devoe did not expressly define “buried” or

“encapsulated,” Dr. Randall predicated his opinion on Devoe’s

visual depictions, particularly Figure 2b, which Dr. Randall

described as a three-dimensional rendering of an electrode

positioned within the dielectric layer, and thus necessarily of

smaller length and width than the dielectric layer.     (Id. 1736-

40.)     In sum, Presidio’s anticipation case required the jury to

accept that “buried” meant “completely buried,” and

“encapsulated” meant “completely encapsulated,” and that Figure

2b and other Devoe drawings depicted an electrode smaller in

length and width than the dielectric layer on which it was

mounted.

            Dr. Shanfield’s rebuttal testimony credibly attacked

Dr. Randall’s core assumptions, providing sufficient basis for

the jury to find Presidio fell short of its high burden of

proof.     Dr. Shanfield emphatically rejected Dr. Randall’s

assumption that the term “buried” connoted the complete

encapsulation of the electrode by the dielectric layer.        And

indeed, nowhere in the Devoe Reference is the term “buried”

defined.     Dr. Shanfield also noted that a POSITA would

                                  50
understand that “buried” does not necessarily refer to complete

encapsulation, as with “buried transmission lines,” which are

partially exposed.      (Tr. 2166-67.)22    As for Devoe’s drawings,

Dr. Shanfield described Figure 2b and others visual renderings

as “two-dimensional” depictions that “don’t tell you how long

the electrodes are relative to the dielectric in the dimension

in and out of the screen . . . .”         (Tr. 2187:2-4.)     According to

Dr. Shanfield, Dr. Randall assumed that Devoe’s drawings

disclosed the dimensions of the electrode into and out of the

page.

           At bottom, Presidio’s challenge to the jury’s

anticipation verdict is meritless.         Not only did the jury

reasonably find that the Devoe Reference did not disclose all

limitations of Claim 2, but, in the counterfactual scenario

where the jury did find Claim 2 to be anticipated by Devoe, the

22
      Presidio suggests Dr. Shanfield inadvertently conceded Defendant’s
point by distinguishing the word “buried” from “encapsulated.” The latter
term, at least according to Presidio, means “a first dielectric layer is
completely enclosed, such that the first electrode layer has a width [and
length] that is smaller than the width [and length] of the first dielectric
layer.” (See Def.’s Mot. 19.) This “concession” supposedly proves
anticipation because the Devoe Reference discloses a first internal electrode
that is “ceramic-encapsulated.” (Id.) But Presidio mischaracterizes Dr.
Shanfield’s testimony. On direct examination, Plaintiffs’ counsel asked Dr.
Shanfield whether a POSITA “would not have understood buried to mean
completely covered or encapsulated?” (Tr. 2167:6-8.) Although Dr.
Shanfield’s answer, “[a]bsolutely not,” resulted in an awkward double
negative, his subsequent testimony clearly rejected the notion that Devoe
disclosed completely encapsulated, or completely covered, internal
electrodes. (Id. 2167-68.) In another instance, Presidio states that Dr.
Shanfield’s “only response” to Dr. Randall’s testimony is “rank speculation”
regarding how Devoe would have wanted the capacitor to be configured.
(Def.’s Mot. 18-19.) This peculiar assertion blatantly ignores Dr.
Shanfield’s additional support for his opinion, as detailed in this
Memorandum and Order.


                                     51
court may very well have granted Plaintiffs relief under Rule 50

or 59.   The Devoe Reference fails to explicitly define “buried”

or “encapsulated,” and while its two-dimensional drawings depict

a first dielectric layer that is longer that the first

electrode, there is no inherent basis to presume the dielectric

is also wider.    The dielectric layer may be wider than the

electrode, but the electrode may also be equal in length.       That

Devoe leaves the door open to the possibility of a first

dielectric layer that is longer and wider than the first

electrode, is insufficient to anticipate Claim 2, explicitly or

inherently.    See MEHL/Biophile Int’l Corp. v. Milgraum, 192 F.3d

1362, 1365 (Fed. Cir. 1999) (“Inheren[t anticipation] may not be

established by probabilities or possibilities. The mere fact

that a certain thing may result from a given set of

circumstances is not sufficient.”) (citation omitted).

          Likewise, Dr. Randall’s assumption that Devoe’s stated

intention to “avoid[] the issue of surface anomalies” thereby

implies complete encapsulation of the electrode (see Tr. 1738-

40; see also Devoe Reference, col 9, ll. 43-46), ignored whether

such anomalies could have also been avoided if the electrode and

dielectric were of equal width.     In fact, Dr. Shanfield believed

Devoe may have desired equal dimensions in order to enhance

capacitance.     (Tr. 2162.)   At a minimum, this conflicting

testimony militates against setting the verdict aside,

                                   52
especially in light of Presidio’s heavy burden to prove

anticipation by clear and convincing evidence.   See Corning

Optical, 193 F. Supp. 3d at 141 (denying motion for JMOL or a

new trial on infringement because “[e]ssentially, [defendant]

asks the court to reweigh conflicting evidence, a function

belonging to the jury, not the court on a Rule 50 motion”); cf.

Mentor H/S, Inc. v. Med. Device All., Inc., 244 F.3d 1365, 1376–

77 (Fed. Cir. 2001) (reversing district court’s grant of new

trial on anticipation where court “substitute[d] its judgment”

for the jury’s, and asserted that prior art reference

anticipated claim limitations, a conclusion not supported by the

record given defendant’s burden to establish anticipation by

clear and convincing evidence).

          In closing, there is no basis for the court to disturb

the jury’s verdict with respect to liability, or an anticipation

defense thereto.   The court now moves to the third, and most

compelling challenge to the verdict, regarding the jury’s

damages award.

II.   Plaintiffs’ Motion For a New Trial or an Amended Judgment

        A. Standards Governing the Motion

          The standard applicable to a motion for a new trial

was discussed above, and will not be repeated herein.     In

addition to requesting a new trial, Plaintiffs seek an amended




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judgment increasing the jury’s damages verdict by awarding a

$0.25 royalty for all 15 million-plus infringing BB capacitors.

                1. Motion to Amend Judgment

              A district court may alter or amend a judgment,

pursuant to Federal Rule of Civil Procedure 59(e), in order “to

correct a clear error of law or prevent manifest injustice.”

Munafo v. Metro. Transp. Auth., 381 F.3d 99, 105 (2d Cir. 2004)

(citations and internal quotation marks omitted); Endo Pharm.

Inc. v. Amneal Pharm., LLC, No. 12 CIV. 8060 (TPG), 2016 WL

1732751, at *1 (S.D.N.Y. Apr. 29, 2016) (“A district court may

grant a . . . Rule 59(e) motion to correct manifest errors of

law or fact at trial[.]”) (citation omitted).      An alteration or

amendment “is appropriate if the court in the original judgment

has failed to give relief on a claim on which it has found that

the party is entitled to relief.”      Continental Cas. Co. v.

Howard, 775 F.2d 876, 883 (7th Cir. 1985), cert. denied, 475

U.S. 1122 (1986).

            A motion to alter or amend judgment is an

“extraordinary remed[y] to be employed sparingly in the

interests of finality and conservation of scarce judicial

resources.”    Fireman’s Fund Ins. Co. v. Great Am. Ins. Co., 10

F. Supp. 3d 460, 475 (S.D.N.Y. 2014) (citations and quotations

omitted).     “The narrow aim of Rule 59(e) is to make clear that

the district court possesses the power to rectify its own

                                  54
mistakes in the period immediately following the entry of

judgment.”   Greene v. Town of Blooming Grove, 935 F.2d 507, 512

(2d Cir. 1991) (internal quotation marks and alterations

omitted) (quoting White v. N.H. Dep’t of Employment Sec., 455

U.S. 445, 450 (1982)).

       B. Waiver

         As a threshold matter, the court must address whether

Plaintiffs waived their right to challenge the verdict. Presidio

contends, without further elaboration, that Plaintiffs waived

all challenges to the jury’s verdict, including the reasonable

royalty award, by “fail[ing] to object[.]”   (Def.’s Opp. 11.)

Presumably, this refers to Plaintiffs’ failure to object to the

verdict before the jury was discharged.

         Waiver is a procedural issue, to be determined by

Second Circuit law.   See Cabinet Vision v. Cabnetware, 129 F.3d

595, 601 (Fed. Cir. 1997) (“Because waiver of a jury trial is a

procedural matter not unique to patent law and is accomplished

pursuant to local rules, we look to the law of the regional

circuit.”); see also Exmark Mfg. Co. Inc. v. Briggs & Stratton

Power Prod. Grp., LLC, 879 F.3d 1332, 1347 (Fed. Cir. 2018)

(“When reviewing damages in patent cases, we apply regional

circuit law to procedural issues and Federal Circuit law to

substantive and procedural issues pertaining to patent law.”)

(citation omitted).   Generally, “a party waives its objection to

                                55
any inconsistency in a jury verdict if it fails to object to the

verdict prior to the excusing of the jury.”   Anderson Grp., LLC

v. City of Saratoga Springs, 805 F.3d 34, 46 (2d Cir. 2015)

(quoting Kosmynka v. Polaris Indus., Inc., 462 F.3d 74, 83 (2d

Cir. 2006)); Barkley v. United Homes, LLC, 848 F. Supp. 2d 248,

254 (E.D.N.Y. 2012), aff'd sub nom. Barkley v. Olympia Mortg.

Co., 557 F. App’x 22 (2d Cir. 2014), as amended (Jan. 30, 2014)

(challenge to verdict’s purported award of duplicative damages

was waived when defendants raised issue for first time in their

post-trial motions).   “The requirement of a timely exception is

not merely a technicality,” but rather, “function[s] . . . to

give the court and the opposing party the opportunity to correct

an error in the conduct of the trial.”   Kosmynka, 462 F.3d at 83

(internal quotations and citations omitted); see also Bseirani

v. Mahshie, 881 F. Supp. 778, 784 (N.D.N.Y. 1995), aff’d, Nos.

95–9109, 95–9145, 1997 WL 3632 (2d Cir. Jan. 3, 1997) (“[W]here

counsel is or should be aware of the inconsistency in the

verdict, and where resubmission to the jury would resolve the

ambiguity,” waiver is appropriate “to promote the efficiency of

trials by allowing the original deliberating body to reconcile

inconsistencies without resort to the presentation of evidence

to a different body.”) (internal quotations and citations

omitted).




                                56
           Here, the jury announced it had reached a verdict at

approximately 10:00 p.m. on Friday, June 21, 2019.            Immediately

thereafter, the verdict was published, the jury was polled, and

then discharged.     Plaintiffs did not object to the jury’s

verdict or otherwise seek to preserve its post-trial rights

before the jury exited the courtroom.         Once the last juror

departed, the court inquired about post-trial motions.             The

parties agreed to confer, and four days later, submitted a joint

letter advising the court of their intention to file post-trial

motions upon the entry of judgment.         (ECF No. 193.)23     The court

entered judgment on November 14, 2019 (ECF No. 214), and

Plaintiffs served this motion the following month.

           It is indisputable that Plaintiffs first raised their

challenge to the jury’s reasonable royalty award well after the

jury was discharged.      Plaintiffs admittedly had a short window

of time to object to the verdict before the jury exited, but

Plaintiffs do not offer a compelling explanation why they could

not, and did not, object before the jury was excused.             Given the

Second Circuit’s strict application of the waiver rule,

Plaintiffs’ waiver may not be excused on this ground.             See,

e.g., Anderson Grp., 805 F.3d at 47 (reversing decision not to

23
      The parties’ stipulated to filing a proposed judgment for entry by the
court, pending the court’s disposition of Presidio’s motions on equitable
waiver and indefiniteness. (Id.) The parties further agreed to serve
opening briefs for the instant motions no later than 28 days after the
court’s entry of judgment. (Id.)


                                     57
find waiver, where district court reasoned that “complicated and

unique” nature case made it reasonable for defendant “not to

immediately voice objection,” and rejecting proposition that

“litigant’s duty to object to a perceived error turns on the

complexity of the issues at play.”).   Plaintiffs also imply that

their objection to the verdict prior to the entry of judgment on

November 14, 2019, may forestall waiver.   (Pls.’ Mot. 6 (citing

ECF No. 205-1, Plaintiffs’ Letter dated August 23, 2019, which

described verdict as contrary to 35 U.S.C. § 284, and identified

grounds for instant post-trial motion).)   The court has

identified no authority supporting Plaintiffs’ contention,

whether in the Second Circuit, or elsewhere, and therefore

respectfully rejects it.   That does not end matters, however.

          Waiver may be excused if a verdict constitutes

“fundamental error.”   Perks v. Town of Huntington, 234 Fed.

App’x 8, 11 (2d Cir. 2007).   “Fundamental error” must be “so

serious and flagrant that it goes to the very integrity of the

trial.”   Jarvis v. Ford Motor Co., 283 F.3d 33, 62 (2d Cir.

2002) (internal citations and quotation marks omitted).    The

Second Circuit’s decision in Rodick v. City of Schenectady, 1

F.3d 1341 (2d Cir. 1993), is an instructive example of

fundamental error sufficient to overcome waiver.   In that case,

the defendant challenged an inconsistent verdict after failing

to timely object to an erroneous instruction and verdict form.

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Id. at 1347–49.     The jury attributed to the vicariously liable

defendant “a damage amount ten times greater than the liability

assessed against each of the [directly responsible] individual

defendants and 2.5 times greater than the damages assessed

against the [individual defendants] collectively.”            Id. at 1349.

Although the jury instructions “accurately described the law as

far as they went,” the verdict was ultimately inconsistent with

applicable law.     Id. at 1348.     According to the Second Circuit,

this injustice demanded a new trial despite defendant’s untimely

challenge to the verdict.       Not only was the Rodick verdict

inconsistent with the law of joint and several liability, but

also “so contrary to basic concepts of respondeat superior that

it would be a miscarriage of justice to let it stand.”             Id.24

            Plaintiffs contend the jury inadvertently awarded a

reasonable royalty for only a small portion of the infringing BB

capacitors, excluding the vast majority of units from its

calculation.    (Pls.’ Mot. 7-8.)      The patent damages statute, 35

U.S.C. § 284, requires the court to award “no less than a

reasonable royalty” for each infringing unit.           If the jury did

intend to award a $0.25 royalty for each infringing capacitor, a

highly plausible assertion (as discussed below), yet through

24
      The Rodick court did not expressly use the term “fundamental error” in
its decision, but courts have recognized that the Second Circuit rooted its
reasoning in “fundamental error” doctrine. See, e.g., Shade v. Hous. Auth.
of City of New Haven, 251 F.3d 307, 313 (2d Cir. 2001); Zellner v. Summerlin,
399 F. Supp. 2d 154, 160 (E.D.N.Y. 2005).


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sheer mistake, excluded over 80% of infringing units from its

calculation, then the verdict blatantly disregards the floor for

patent damages established by Congress in section 284, and

thereby deprives Plaintiffs of more than $3 million in rightful

compensation.     Such a “serious and flagrant” error strikes at

the “very integrity of the trial,” Marcic v. Reinauer Transp.

Cos., 397 F.3d 120, 124 (2d Cir. 2005), and therefore, merits

consideration of Plaintiffs’ motion notwithstanding their

untimely objection to the jury’s verdict.25          This outcome

arguably cuts against “the purpose of waiver,” which is “to

promote the efficiency of trials,” Bseirani, 881 F. Supp. at

784, but the court finds that the “fundamental error” exception

subordinates interests of efficiency where, as discussed below,



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      Presidio cites a litany of authorities to advance its contention that
Plaintiffs’ waiver precludes a new trial. (Def.’s Opp. 11-12.) Generally,
these cases feature no substantive or relevant discussion of the “fundamental
error” exception. See, e.g., Haskell v. Kaman Corp., 743 F.2d 113, 123 (2d
Cir. 1984) (no discussion of “fundamental error” exception); Lavoie, 975 F.2d
at 57 (same); In re Vivendi Universal, S.A. Sec. Litig., 765 F. Supp. 2d 512,
570-72 (S.D.N.Y. 2011), aff'd sub nom. In re Vivendi, S.A. Sec. Litig., 838
F.3d 223 (2d Cir. 2016) (same). Presidio also relies on Barkley v. United
Homes, 848 F. Supp. 2d 248 (E.D.N.Y. 2012), decided by the undersigned, but
that case is distinguishable. There, defendants challenged a verdict’s
purported allowance for duplicative damages. The court found the challenge
waived, in part, because defendants did not propose jury instructions or a
verdict sheet that accounted for the risk of duplicative damages, and did not
raise the issue at the charging conference. Id. at 255. The jury
instructions here, by contrast, clearly instructed the jury to award
Plaintiffs a minimum royalty for each unit found to have infringed, as
required by 35 U.S.C. § 284. Finally, notwithstanding their waiver, the
Barkley defendants did not sufficiently establish that the jury actually
awarded duplicative damages. Id. at 257-261 (citation omitted). The instant
circumstances, on the other hand, strongly suggest the jury failed to award a
reasonably royalty for each infringing unit, as required by law.


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the verdict defies the clear-cut commands of Congress, codified

in federal statute.

        C. The Damages Verdict Was Clearly Erroneous

          Plaintiffs’ objection remains extant, and the court

now turns to its merits.   After reviewing the verdict, the trial

record, and the applicable law, the court is left with the

overriding conviction that, despite Plaintiffs’ waiver, the jury

had a sufficient evidentiary basis to determine that Plaintiffs

were entitled to a royalty rate of $0.25 for each infringing

device, but erroneously awarded a lump sum that effectively

excluded nearly 80% of the infringing units from its damages

computation.   The court will first explain why the trial record

strongly suggests the jury intended to apply a royalty rate of

$0.25, and then rule out alternative explanations for the

damages award reflected on the completed verdict form.

               1. Royalty Rate Evidence and Argument

          As detailed above, Dr. Woods testified as Plaintiffs’

damages expert.   Though a court order precluded Dr. Woods from

proffering a specific royalty rate, he set forth his analysis of

the factors governing the appropriate royalty rate under

Georgia-Pacific, based on a hypothetical negotiation between the

parties just prior to the infringement.   See 318 F. Supp. at

1120.   Regarding the ‘791 Patent, Dr. Woods noted that Presidio

charged $0.20 to $0.36 less than ATC for the “most common-sized

                                61
capacitor.”     (Tr. 1000:6-11.)   Dr. Woods further noted that, at

the time of hypothetical licensing negotiation for the ‘547

Patent, AVX and Presidio would understand that the latter stood

to generate about $0.90 in incremental profit per unit,

comprising the income stream for prospective royalty payments.

(Id. 1005:9-12.)     More generally, Dr. Woods told the jury that

many of the same considerations guided his royalty rate analysis

for both Patents-in-suit.     (Id. 1006:14-19.)

          In his summation, Plaintiffs’ counsel devoted the bulk

of his damages argument to advocating for lost profits, with its

potential for a vastly greater damages award.        Plaintiffs’

counsel addressed the proper royalty award only as a secondary

matter.   Plaintiffs sought almost $19 million in lost profits

for 12,413,319 infringing capacitors.      (Tr. 2341:12-15.)

Counsel acknowledged that an additional 2,955,927 BB capacitors

were not included in Plaintiffs’ lost profits calculations,

either because they were manufactured but not sold by Presidio,

or because ATC and AVC themselves never sold a substitute for

that product.    (Id. 2342:4-9.)   Counsel argued to the jury that

Plaintiffs were still “entitled at a minimum to a reasonable

royalty” for this smaller number of units.        (Id. 2342:10-12.)

Counsel recommended the jury apply a royalty of “25 cents per

capacitor,” which “split[s] the difference” between $0.20 and

$0.36, the price difference between Presidio and ATC’s products,

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according to Dr. Woods.    (Id. 2343:3-12.)   In terms of lump

sums, Plaintiffs’ counsel urged the jury to award lost profits

of $6,576,373 and $12,226,594, for the ‘547 and ‘791 Patents,

respectively, which figures were based on lost profits evidence.

(Id. 2343:14-18.)    For the “approximately 3 million units for

which the lost profit is not available,” Plaintiffs’ counsel

asked the jury to award $58,334.75 for the ‘547 Patent, and

$680,647 for the ‘791 Patent.    (Id. 2343:19-23.)   Hours later,

the jury found Presidio liable on all infringement counts.

Although Plaintiffs were not awarded lost profits, the royalty

award matched the exact amounts recommended by counsel:

$58,334.75 for the ‘547 Patent, $680,647 for the ‘791 Patent.

But, whereas Plaintiffs advocated for those awards solely with

respect to the 2,955,927 units ineligible for lost profits, the

completed verdict form gave no express indication that the award

was limited to that smaller subset.      Consequently, those

amounts—$58,334.75 and $680,647—were entered as the total

damages awarded to Plaintiffs for the ‘547 Patent and ‘791

Patents, respectively, and all 15 million-plus infringing units,

collectively.

                2. Likelihood of Error

         By adopting the precise lump sum royalty that

Plaintiffs’ counsel proposed for the smaller subset of

approximately three million units, without awarding lost profits

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at all, the court finds that the jury most likely concurred with

counsel’s proposed royalty rate of $0.25, but inadvertently

excluded over 12 million units—the vast majority of the more

than 15 million infringing units—from its damages calculation.

To accept the coincidence that the jury settled on a royalty

rate below $0.25 for all infringing units, only to arrive at the

precise damages total—down to the penny—advocated by Plaintiffs

for 2,955,927 units, would ignore both logic and common sense.

Yet, that is what Presidio advocates.   Indeed, nowhere in

Presidio’s opposition is this coincidence acknowledged, much

less confronted.

         Instead, Presidio attempts to backfill a logical

explanation for the jury’s verdict. The principal assertion in

defense of the damages award is that the jury merely, and

randomly, selected an “intermediate” royalty rate, less than the

$0.25 per unit sought by Plaintiffs, but more than the $.01 rate

recommended by Presidio’s expert, Dr. Thomas.    (Def.’s Opp. 15.)

According to Presidio, the jury’s verdict equates to a

reasonable royalty of $0.02 per unit for the ‘547 Patent, and

0.05 per unit for the ‘791 Patent.   (Id. 11.)   Presidio

supposedly arrived at this calculation by dividing the jury’s

damages figure for each Patent-in-Suit (‘547 Patent:

$58,334.75;‘791 Patent: $680,647.00), by the corresponding




                               64
number of infringing capacitors (‘547 Patent: 3,153,277 units;

‘791 Patent: 12,215,969 units).     (Id.)

           Presidio’s math does not withstand an actual

calculation, however.     The jury’s verdict only “equates” to

$0.02 and $0.05 per unit if great liberties are taken when

rounding the quotient.     Presidio’s division actually yields the

following royalty rates:

       •   ‘547 Patent:

           $58,334.75 (Total Award) divided by 3,153,277
           (Infringing Units)

           Royalty Rate = $0.0184997226694641796454926097517

       •   ‘791 Patent:

           $608,647 (Total Award) divided by 12,215,969
           (Infringing Units)

           Royalty Rate = $0.05571780674950959682363306586649

(See Pl.’s Reply 2-3.)

           Presidio’s mathematical imprecision is telling.

Hypothetical royalty rates of $0.02 and $0.05 might suggest the

jury intentionally selected intermediate rates somewhere between

$0.01 and $0.25, the rates proffered by the parties.      The actual

royalty rates, calculated above, can only be explained as random

quotients.   The only parts of the equation above susceptible to

rational explanation are the dividend, i.e. the lump sum royalty

award (proposed by Plaintiffs’ counsel), and the divisor, i.e.

the number of infringing units.     Notably, Presidio does not even

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round the resulting royalty rates consistently.      Presidio rounds

the rate for the ‘547 Patent up from approximately $0.1849 to

$0.02, but inexplicably rounds the ‘791 rate down from

approximately $0.0557 to $0.05, when it should presumably be

rounded up to $0.06.     Presidio’s mathematical shenanigans appear

to be a transparent attempt to explain away the verdict’s

inconsistency, and underscore Presidio’s own wishful, but

tortured rationale for the jury’s decision-making process.

         Presidio also argues that the record supported a low

royalty, and intimates that Plaintiffs merely resent that the

jury assigned more weight to Presidio’s evidence than

Plaintiffs’.    (Def.’s Opp. 3, 15-20; id. 14 (“Plaintiffs’

request for a new trial is, in effect, a claim that the jury’s

reasonable royalty award was so low that the jury must have

failed to award a reasonable royalty for all infringing

units.”).)     At trial, Dr. Thomas testified that the Patents-in-

suit’s inventive aspects—vias for ‘791, and the L-shaped

termination for ‘547—had little to no value, and he hypothesized

that Presidio simply would have removed these features from its

ultra-broadband capacitors to circumvent any royalty demand.

(Tr. 2062, 2076-79.)     Dr. Thomas further opined that Presidio

would have agreed to no more than a $0.01 royalty for each

Patent-in-suit.     (Id. 2081.)   In Dr. Thomas’s opinion, absent




                                   66
lost profits, total damages were limited to $31,538 for the ‘547

Patent, and $127,120 for the ‘791 Patent.      (Id. 2088-89.)

         Presidio fails to appreciate that the gravamen of

Plaintiffs’ challenge is not the jury’s selection of a specific,

low royalty rate.     The court finds that the verdict’s infirmity

lies not in its magnitude, but its lack of any apparent

rationale.   Neither Presidio’s explanations, nor those surmised

by the court, plausibly resolve the inexplicable coincidence at

the heart of this verdict: the total royalty award mirrors the

precise numbers stated by Plaintiffs’ counsel in closing

arguments, but awards those sums in a manner that neither

counsel, nor—in the court’s view—anyone else, could have

reasonably contemplated.

         Further, although the trial record arguably supports a

low royalty award, there is no evident support for applying

different royalty rates for each Patent-in-suit.        Dr. Thomas

unequivocally stated that Presidio would have agreed with AVX

and ATC to a royalty rate of $0.01 per unit sold for each

Patent-in-suit.     (Tr. 2081.)   Likewise, Plaintiffs’ counsel

implored the jury to award royalty damages based on a $0.25

royalty rate for both ‘547 and ‘791.      (Id. 2343.)     Although

both parties identified distinct features of the ‘791 and ‘547

Patents, neither party compared the relative value of each

patents’ inventive designs, and Presidio does not suggest

                                   67
otherwise.     Cf. Warren v. Thompson, 224 F.R.D. 236, 240 n.7

(D.D.C. 2004), aff’d sub nom. Warren v. Leavitt, 264 F. App’x 9

(D.C. Cir. 2008) (“A trial court is not required to parse

through transcripts in an effort to identify the grounds of a

post-trial motion.”) (quotation omitted).     This bolsters the

court’s suspicion that the verdict is erroneous, because

accepting its validity demands the inchoate assumption that the

jury sua sponte adopted different royalty rates for each patent,

despite no apparent evidentiary basis or advocacy for such

distinction.

         Presidio also comments that “Plaintiffs did not offer

any evidence on what constitutes a reasonable royalty” during

the trial.     (Def.’s Opp. 14.)   This is simply not true.

Plaintiffs’ expert, Dr. Woods, gave lengthy testimony applying

the Georgia-Pacific factors to the Patents-in-Suit.      In

pertinent part, Dr. Woods noted that Presidio’s capacitors

generally undercut ATC’s prices by $0.20 to $0.36, and its BB

capacitors typically sold for $1.36, at a $0.90 incremental

profit—a revenue stream for prospective royalty payments—and

that AVX and ATC would expect Presidio to compete with them in

either the general capacitor or ultra-broadband market.       (Tr.

1000, 1005.)     Presidio ignores this testimony.

         Instead, Presidio conflates this court’s Daubert

order, which barred Dr. Woods’ opinion concerning the precise

                                   68
royalty rates for the Patents-in-suit, with the wholesale

preclusion of his testimony about a hypothetical royalty

negotiation.    (See Def.’s Opp. 14 (citing ECF No. 179, Daubert

Order).)   Presidio misconstrues the Daubert order.   The court

expressly declined to preclude Dr. Woods from testifying.

(Daubert Order 73 (“[T]here may be portions of Dr. Woods’ report

and underlying opinion that can support a jury determination of

a reasonable royalty without Dr. Woods’ ultimate conclusion.”).

And as Plaintiffs’ reply notes, Presidio neither objected to Dr.

Woods’ opinions at trial, nor challenged the sufficiency of his

opinions in post-trial submissions, including Presidio’s

opposition.    (Pls.’ Reply 4.)

           Finally, Presidio tries to leverage the well-

established presumption that a jury follows the court’s

instructions, see Weeks v. Angelone, 528 U.S. 225, 234 (2000)

(citing Richardson v. Marsh, 481 U.S. 200, 211 (1987)), to

foreclose consideration of the jury’s apparent error.      (Def.’s

Opp. 10-11.)   The court instructed the jury to “award ATC and

AVX a reasonable royalty for all infringing sales for which they

have not been awarded lost profits damages.”    (See Final Jury

Instructions, No. 40.)    Presidio therefore urges the court to

presume the jury heeded the court’s instructions, and “awarded a

reasonable royalty for all infringing units.”    (Def.’s Opp. 10

(citations omitted).)    Leaving aside Presidio’s tautological

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contention, the presumption on which it relies is overcome,

where, as here, the jury arrives at a decision “for

impermissible reasons, such as mistake, compromise, or lenity.”

United States v. Moran-Toala, 726 F.3d 334, 342 (2d Cir. 2013)

(citations and internal quotation marks omitted).     The

reasonable inference drawn here is that the jury’s damages award

was the product of mistake, and the court cannot presume that

the jury awarded a reasonable royalty for all infringing units

as instructed.

         In a similar vein, Presidio concludes the jury must

have disregarded “Plaintiffs’ counsel’s improper suggestion

during closing argument that $0.25 could serve as a reasonable

royalty,” because the court instructed the jury that “counsels’

opening and closing statements are to be disregarded.”      (Def.’s

Opp. 10-11.)     As an initial matter, Presidio appears to have

misinterpreted the court’s instruction.     The jury was instructed

that, “[w]hat the lawyers have said in their opening statements,

in their closing arguments, in their objections, or in their

questions is not evidence.”    (Final Jury Instructions, No. 3

(emphasis added).)     Needless to say, it would be nonsensical for

counsel to spend countless hours preparing opening and closing

remarks, and for the court to set significant time aside for

such statements, only to require that jurors completely

disregard counsel’s summations.    It was perfectly in keeping

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with the law, and the court’s instructions, for Plaintiffs’

counsel to suggest to the jury that the evidence supported a

royalty rate of $0.25.    See United States v. Barbera, No. S1

02CR.1268 (RWS), 2004 WL 1229573, at *12 (S.D.N.Y. June 2, 2004)

(noting counsel’s “broad latitude” to suggest inferences to the

jury during closing arguments).    Further, Presidio does not

intimate that counsel’s closing remarks misrepresented the

evidence.    Cf. Porter v. United States, No. 08-CV-1497(CPS),

2008 WL 5451011, at *4–5 (E.D.N.Y. Dec. 31, 2008) (“The

‘prosecution and defense are entitled to broad latitude in the

inferences they may suggest to the jury during closing

arguments,’ provided they do not misstate the evidence.”)

(citing, inter alia, United States v. Smith, 778 F.2d 925, 929

(2d Cir. 1985)).

            Having established the jury’s clear error with regard

to damages, and dismissed Presidio’s attempts to rationalize it,

the court now turns to the appropriate remedy.

       D. A New Trial on Damages is Necessary

               1. A New Trial is Appropriate

            A new trial is appropriate under Federal Rule of Civil

Procedure 59(a) because the court “is convinced that the verdict

was manifestly erroneous.”    Manley, 337 F.3d at 246.   The jury’s

lump sum damages award matches, to the penny, the exact figure

suggested by Plaintiffs’ counsel, but only in relation to a

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partial subset of 2,955,927 infringing units.    The jury did not

award a royalty for all 15,369,246 infringing units, an error

that flagrantly violates the clear mandate of the patent law,

which requires that infringement claimants be awarded a

reasonably royalty for all infringing units.    See 35 U.S.C. §

284.   The court has searched in vain for alternative

explanations, and none rationally harmonizes the verdict with

the record, or justifies the verdict’s arbitrary and varying

royalty rates.   Cf. Gallick v. Balt. & O.R. Co., 372 U.S. 108,

119 (1963) (“[I]t is the duty of the courts to attempt to

harmonize the answers, if it is possible under a fair reading of

them: ‘Where there is a view of the case that makes the jury's

answers to special interrogatories consistent, they must be

resolved that way.’”) (quoting Atl. & Gulf Stevedores, Inc. v.

Ellerman Lines, Ltd., 369 U.S. 355, 364 (1962)).

          The court, therefore, orders a new trial on damages.

The jury’s liability and invalidity decisions, which are

“conceptually distinct” from damages, shall remain undisturbed

and those issues will not be retried.   See Crockett v. Long

Island R.R., 65 F.3d 274, 279 (2d Cir. 1995) (directing retrial

on damages only); see also Banks v. Travelers Cos., 180 F.3d

358, 364 (2d Cir. 1999) (where “the error infecting the damages

award [was] entirely separable from the underlying finding of

liability, . . . retrial of damages alone [was] appropriate”);

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Liriano v. Hobart Corp., 170 F.3d 264, 272 (2d Cir. 1999) (“As a

general matter, judges may order retrial on some but not all

issues in a case, and they may do so even when the issues are

related.”).

              2. The Lost Profits Verdict Will Not Be Disturbed

          The new trial will be limited to the issue of

determining a reasonable royalty.     Although Plaintiffs seek to

abrogate the jury’s decision not to award lost profits, a new

trial on that issue is unwarranted.     Plaintiffs’ sole argument

for retrying lost profits “is that the jury was operating under

the ‘lost profits scenario’ that Dr. Woods testified about,”

i.e. awarding lost profits of $18,802,967 for 12,413,319

capacitors, and a royalty for the 2,955,927 remaining capacitors

based on a $0.25 rate.   (Pls.’ Mot. 1; see also Tr. 2343:13-23.)

This contention is speculative, however.     Unlike the jury’s

royalty award, which defies explanation, awarding Plaintiffs

zero lost profits can be reconciled with the trial record.

          “Lost profits damages are appropriate whenever there

is a reasonable probability that, ‘but for’ the infringement,

[the patentee] would have made the sales that were made by the

infringer.”   Versata Software, Inc. v. SAP Am., Inc., 717 F.3d

1255, 1263 (Fed. Cir. 2013) (internal quotation marks and

citations omitted).   A showing under the four-factor Panduit

test is used to establish the required causation.     Rite–Hite

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Corp. v. Kelley Co., 56 F.3d 1538, 1545 (Fed. Cir. 1995).           These

factors include: “(1) demand for the patented product, (2)

absence of acceptable noninfringing alternatives, (3) [capacity]

to exploit the demand, and (4) the amount of profit [the

patentee] would have made.”     Panduit, 575 F.2d at 1156.

Causation of lost profits “is a classical jury question.”

Brooktree Corp. v. Advanced Micro Devices, Inc., 977 F.2d 1555,

1578 (Fed. Cir. 1992).

            Dr. Thomas found no evidence that Presidio’s customers

demanded capacitors with vias or L-shaped terminations, or that

any market existed for licensing the Patents-in-suit.        (Tr.

2042-43.)    In his opinion, the Patents-in-suit were not critical

to the manufacture or sale of ultra-broadband capacitors, a

point he highlighted by noting ATC’s non-use of the ‘791 and

‘547 Patents.     (Id. 2044.)   Because Presidio’s customers were

not concerned about vias or L-shaped terminations, Dr. Thomas

deduced Presidio could have circumvented the Patents-in-suit

without any sales migrating from Presidio to Plaintiffs.         (Id.

2044-46, 2062.)     Dr. Thomas supported his opinion with testimony

from other trial witnesses, including one of Plaintiffs’

engineers, Andrew Ritter, as well as Presidio’s President, Alan

Devoe, and Plaintiffs’ expert, Dr. Randall.      (Id. 1144 (Devoe),

1823 (Dr. Randall), 500 (Ritter).)      Dr. Woods, Plaintiffs’

damages expert, testified that Presidio did not make or sell an

                                   74
alternative, non-infringing substitute in the ultra broadband

capacitor market, and that Plaintiffs had the capacity to

manufacture and market sufficient capacitors to meet the needs

of Presidio’s customers.    (See id. 955-80.)

            Although presented with conflicting lost profits

testimony, the jury reasonably could have credited Dr. Thomas’

opinion and determined that Plaintiffs did not lose any sales as

a result of Presidio’s infringement.      The lost profits verdict

must therefore stand.    To hold otherwise, would require the

court to substitute the jury’s credibility assessment with its

own.   The Second Circuit forbids this.     See Metromedia Co. v.

Fugazy, 983 F.2d 350, 363 (2d Cir. 1992), abrogated on other

grounds as noted in Yung v. Lee, 432 F.3d 142, 147 (2d Cir.

2005) (“Where the resolution of the issues depended on

assessment of the credibility of the witnesses, it is proper for

the court to refrain from setting aside the verdict and granting

a new trial.”); see also Zhiwen Chen v. Cty. of Suffolk, 927 F.

Supp. 2d 58, 67 (E.D.N.Y. 2013) (holding that “it would be

improper to grant a new trial under these circumstances as the

issue of the force exercised by defendants was dependent on the

assessment of the credibility of the witnesses”) (citation

omitted).    Plaintiffs’ motion for a new trial, to the extent it

seeks to retry the jury’s lost profits verdict, is therefore

denied.

                                 75
                3. The Proposed Increase to Damages under Rule
                   59(e) is Unconstitutional

           The court also denies Plaintiffs’ request for an

amended judgment pursuant to Federal Rule of Civil Procedure

59(e).    In lieu of a new trial, Plaintiffs alternatively ask the

court to presume a $0.25 royalty rate, and apply that rate to

all infringing units as a matter of law, in order to bring the

damages award into compliance with 35 U.S.C. § 284.           (Pls.’ Mot.

11-12.)   Granting Plaintiffs relief in this manner would cause

their damages award to surge from $738,981.75 to $3,842,311.50,

a greater than 400% increase.       (Id. 12.)    Presidio argues that a

unilateral enhancement of such magnitude would amount to an

unconstitutional additur.26      (Def.’s Opp. 27-29.)      The court

agrees.

           Under the Seventh Amendment, “no fact tried by a jury,

shall be otherwise re-examined in any Court of the United

States, than according to the rules of the common law.”            U.S.

26
      Technically speaking, additur is “the process by which, if a trial
court considers a verdict inadequate, it may condition the denial of
plaintiff’s motion for a new trial on defendant’s consent to the entry of
judgment in excess of the verdict.” Elsevier Inc. v. Grossmann, No. 12 Civ.
5121 (KPF), 2018 WL 4908105, at *3 (S.D.N.Y. Oct. 9, 2018). “[I]t is a tool
that judges use to fix damages—something that can generally be done only by
the fact-finder—without actually having to hold a second trial.” Liriano,
170 F.3d at 272. Although a court order unilaterally increasing the jury’s
damages award does not strictly conform to the definition of additur above,
the distinction is immaterial. The Second Circuit proscribes both amended
judgments increasing damages and additur, and refers to the two
interchangeably. See, e.g., Elyse v. Bridgeside Inc., 367 F. App’x 266, 267
(2d Cir. 2010) (affirming denial of Rule 59(e) motion to increase damages
award “on the ground that additur is constitutionally impermissible”).



                                     76
Const. amend. VII (“Re-examination Clause”).     In United States

v. Dimick, the Supreme Court barred the use of additur in

federal court as a violation of the Re-examination Clause.       293

U.S. 474, 482, 486 (1935).     The Dimick court was concerned that

unilateral increases of damages erode the “controlling

distinction” between court and jury, namely, the power of the

court “to determine the law and [the power of the jury] to

determine the facts.”   Id. at 486.    The prohibition against

additur endures to present day.    See, e.g., Elyse, 367 F. App’x

at 267; Lenair v. Gauthier, No. CIV.1:03CV299, 2007 WL 593567,

at *1 (D. Vt. Feb. 21, 2007) (“Absent defendants’ consent, the

court is not free to use additur because increasing a jury’s

award, handed down after it considered disputed evidence, ‘would

violate the Seventh Amendment right to a jury trial.’”) (quoting

Gibeau v. Nellis, 18 F.3d 107, 111 (2d Cir. 1994)); Peebles v.

Circuit City Stores, Inc., No. 01 Civ. 10195 (CSH), 2003 WL

21976402, at *13 (S.D.N.Y. Aug. 19, 2003) (“That alternative

remedy [of additur] lies beyond the Court’s power.”).

         The Seventh Amendment does not bar all enhancements to

damages awards, however, and the Second Circuit has recognized a

limited exception to Dimick.    In Liriano v. Hobart Corp.,

defendant appealed a district court order that increased a

jury’s damages award to the plaintiff “to account for a hospital

bill whose amount and nature were not in dispute.”     170 F.3d at

                                  77
272.     The district court granted plaintiff’s motion, and added

$21,252.34 to the total jury award of $1,352,500.        See id. at

278-79.     In affirming, the Second Circuit held that, while

additur is unconstitutional, “simply adjust[ing] the jury award

to account for a discrete item that manifestly should have been

part of the damage calculations and as to whose amount there was

no dispute,” was permissible.     Id. at 273.

            Plaintiffs here attempt to maneuver the instant motion

through the narrow opening articulated in Liriano.        (Pls.’ Reply

9.)    But Liriano’s reach does not extend so far, as recently

illustrated by Elsevier Inc. v. Grossman, a 2018 decision in the

Southern District of New York.     In Elsevier, book publishers

sued under the Racketeer Influenced and Corrupt Organizations

Act (“RICO”) to recover damages for improper sales to defendant.

No. 12 CIV. 5121 (KPF), 2018 WL 4908105, at *2 (S.D.N.Y. Oct. 9,

2018).     At trial, plaintiffs introduced evidence regarding

defendant’s fraudulent practices, including a detailed

spreadsheet substantiating $31,345 in damages.     Id.     Defendant

testified on his own behalf, and claimed he was being falsely

accused of fraud, but presented no other evidence to the jury.

Id.    The jury ultimately found defendant liable under 18 U.S.C.

§ 1962(c), but awarded only $11,108 in damages.     Id.     In a post-

trial Rule 59(e) motion, plaintiffs argued that “a fair and

reasonable jury, with the correct understanding of RICO

                                  78
liability,” including the precept that an individual defendant

is liable for all damages caused by the RICO enterprise, not

just those caused by his personal involvement, would have

awarded plaintiffs the full damages sought.     Id. at *4.

Plaintiffs further argued that Liriano permitted the requested

increase.     Judge Failla disagreed, and discussed why the

exception to Dimick was inapt:

            This is not a case where Plaintiffs are asking for a
            discrete adjustment to account for an undisputed
            amount. Instead, Plaintiffs are asking the Court to
            triple the amount of damages awarded by the jury.
            Furthermore, those damages were disputed by Defendant.
            . . . Because Plaintiffs are not asking for a
            discrete,   undisputed   adjustment  to   the   awarded
            damages, Dimick remains applicable to this case.

Id. at *2.

            Like Elsevier, this case lies well beyond the facts of

Liriano.     The parties heavily dispute the appropriate royalty

and there is a genuine dispute concerning the royalty rate.     See

U.S. E.E.O.C. v. Massey Yardley Chrysler Plymouth, Inc., 117

F.3d 1244, 1252 (11th Cir. 1997) (“Courts recognize an exception

to Dimick where the jury has found the underlying liability and

there is no genuine issue as to the correct amount of

damages.”).     Although the court is convinced that the jury erred

in awarding damages, to definitively conclude that the jurors

agreed on a $0.25 royalty rate, in light of conflicting

evidence, is a bridge too far.     The sheer magnitude of the


                                  79
 damages increase Plaintiffs seek also warrants extreme caution.

 Judge Failla felt compelled to abstain from increasing damages

 three-fold, by approximately $20,000.         If Plaintiffs’ motion to

 amend under Rule 59(e) were granted, their damages award would

 balloon by a multiple of more than five, and in excess of $3

 million.     Such an increase would surpass all precedent, and

 ultimately, run afoul of the Constitution.         Accordingly,

 Plaintiffs’ motion to amend the judgment under Rule 59(e) is

 denied.

III.   Plaintiffs’ Motion for Supplemental Damages and Costs

             Finally, the court turns to Plaintiffs’ motion for

 supplemental damages, prejudgment interest, post-judgment

 interest, and taxation of costs.         (See generally Pls.’ Dmgs.

 Mot.)     Given the pendency of a new trial, supplemental damages,

 prejudgment interest, and post-judgment interest cannot be fixed

 at a sum certain, at this time.      Nevertheless, the court finds

 it prudent to decide on the parties’ legal disputes.         Following

 a new trial, the parties can simply apply the court’s legal

 conclusions in light of the new royalty rate and award, and

 stipulate to supplemental damages and interest.

           A. Supplemental Damages

             Pursuant to 35 U.S.C. § 284, “the court shall award

 the claimant damages adequate to compensate for the

 infringement, but in no event less than a reasonable royalty for

                                     80
the use made of the invention by the infringer,” and “[w]hen the

damages are not found by a jury, the court shall assess them.”

“The Federal Circuit has emphasized the mandatory nature of this

directive and vacated damages awards that do not take into

account all infringing activity.”         SIMO Holdings Inc. v. Hong

Kong uCloudlink Network Tech. Ltd., 396 F. Supp. 3d 323, 348

(S.D.N.Y. 2019) (procedural history omitted) (citing Finjan,

Inc. v. Secure Computing Corp., 626 F.3d 1197, 1213 (Fed. Cir.

2010)).   The parties agree that Plaintiffs are entitled to

supplemental damages for the infringing BB capacitors made or

sold after the time period considered at trial.           (Pls.’ Dmgs.

Mot. 1-4; Def.’s Dmgs. Opp. 5.)        The parties also agree Presidio

made or sold 3,401,142 additional capacitors that directly

infringe the ‘547 Patent since January 9, 2017, the last date

for which Presidio produced sales data before the close of

discovery.    (Pls.’ Dmgs. Mot. 2; Def.’s Dmgs. Opp. 2.)27

            Presently, there is no legally binding royalty rate to

apply to the additional infringing units.          Supplemental damages

therefore cannot be calculated until the royalty rate for the

‘547 Patent is determined at the new trial.           Accordingly,

Plaintiffs’ motion for supplemental damages is denied, without


27
      Plaintiffs do not seek supplemental damages for the ’791 Patent based
on Presidio’s representation that it has not made or sold any additional BB
capacitors that infringe the ’791 Patent. (Pls.’ Dmgs. Mot. 2 n.1; ECF No.
217, Stipulated Injunction, ¶ 2.)


                                     81
prejudice to renew.      Plaintiffs’ asserted royalty base will

presumably comprise the capacitor units considered in the June

2019 trial, along with the infringing capacitors sold since

January 9, 2017.28     If there are additional infringing units made

or sold after the time period covered in the new trial,

Plaintiffs may once again seek supplemental damages for that

subset.

          B. Prejudgment Interest

                1. Undue Delay

            Plaintiffs seek prejudgment interest on damages at the

three-month Treasury Bill (“T-Bill”) rate, compounded annually.

(Pls.’ Dmgs. Mot. 5-6.)       Upon a finding of infringement, “the

[district] court shall award the claimant damages adequate to

compensate for the infringement, . . . together with interest

and costs as fixed by the court.”         35 U.S.C. § 284.

“Prejudgment interest should ordinarily be awarded where

necessary to afford the plaintiff full compensation for the

infringement.”     Schwendimann v. Arkwright Advanced Coating,

Inc., 959 F.3d 1065, 1075–76 (Fed. Cir. 2020) (brackets omitted)

(quoting Gen. Motors Corp. v. Devex Corp., 461 U.S. 648, 655

(1983)).    Prejudgment interest “serves to make the patent owner

28
      As discussed below, the court awards prejudgment interest, pending
judgment in the new trial. Prejudgment interest shall be applied to the
royalty awarded in the new trial. See Comcast IP Holdings I LLC v. Sprint
Commc’ns Co., L.P., 850 F.3d 1302, 1315 (Fed. Cir. 2017) (affirming the
“district court’s assessment of prejudgment interest against [an infringer]
based on the entire royalty award” where the jury awarded a lump-sum amount).


                                     82
whole, for damages properly include the foregone use of money of

which the patentee was wrongly deprived.”     Sensonics, Inc. v.

Aerosonic Corp., 81 F.3d 1566, 1574 (Fed. Cir. 1996).      Thus,

awarding “prejudgment interest is the rule, not the exception.”

Id.

            Nevertheless, Presidio opposes an award of prejudgment

interest, citing “Plaintiffs’ undue delay in filing this

lawsuit.”    (Def.’s Dmgs. Opp. 6.)   Although pre-judgment

interest should ordinarily be awarded, it may be limited or

denied “where the patent owner has been responsible for undue

delay in prosecuting the lawsuit.”     Enzo Biochem, Inc. v.

Applera Corp., No. 3:04CV929 JBA, 2014 WL 29126, at *3 (D. Conn.

Jan. 3, 2014) (citing Gen. Motors Corp., 461 U.S. at 657).

Plaintiffs allegedly had intricate knowledge of Presidio’s BB

capacitors, including the infringing features, as early as 2002,

twelve years before filing suit.      (Def.’s Dmgs. Opp. 6.)

Presidio claims Plaintiffs’ needless delay in filing suit caused

Defendant to waste hundreds of thousands of dollars on capital

investments for the BB capacitors, and incur other economic

harms.   (Id.; see also ECF No. 231-12, Declaration of Lambert

Devoe, ¶¶ 6-9 (documenting $500,000 in expenditures related to

BB capacitors between 2002 and 2014).)      Had Plaintiffs filed

this action more promptly, Presidio claims it would have

redeployed “substantial investments into the BB capacitor

                                 83
product line . . . to a non-infringing design.”     (Def.’s Dmgs.

Opp. 7.)

           Presidio’s argument merely regurgitates claims

previously rejected by this court, and repurposes them to evade

prejudgment interest obligations.     In October 2019, Presidio

moved post-trial for a finding that Plaintiffs “waived their

rights to sue for infringement under the ‘791 Patent because

they had actual knowledge of Presidio’s alleged infringement for

more than a decade.”   (ECF No. 214, Memorandum and Order Denying

Motion to Vacate, dated October 16, 2019 (“Oct. 16th Order”),

5.)   Presidio asserted then, as now, that Plaintiffs “fail[ed]

to enforce their rights for more than a decade after becoming

aware of the alleged infringement.”     (Compare Oct. 16th Order

21-22, with Def.’s Dmgs. Opp. 6.)     Presidio asserted then, as

now, that Plaintiffs analyzed Presidio’s BB capacitors as early

as 2002, and determined the capacitors were covered by ATC’s

patents.   (Compare Oct. 16th Order 22, with Def.’s Dmgs. Opp.

6.)   Presidio principally relied then, as it does now, on

communications from Plaintiffs’ engineers, including John Mruz,

to show that Plaintiffs analyzed Presidio’s BB capacitors as

early as 2004.   (Compare Oct. 16th Order 24, and ECF No. 206-2

(Ex. 13, Mruz Notes and Emails), with Def.’s Dmgs. Opp. 3-4, and

ECF Nos. 231-4, 231-7 (Mruz Notes and Emails).)




                                84
         The court rejected Presidio’s contentions of undue

delay in October 2019.   (Oct. 16th Order 30 (“The court cannot

find that even a preponderance of the evidence establishes

Mruz’s knowledge as early as 2002 or 2004 of both the ‘791

Patent and Presidio’s alleged infringement.”).)     Presidio offers

the court no discernable basis to deviate from its prior ruling.

At bottom, “the withholding of prejudgment interest based on

delay is the exception, not the rule[.]”   Lummus Indus., Inc. v.

D.M. & E. Corp., 862 F.2d 267, 275 (Fed. Cir. 1988).     Presidio’s

failure to establish that Plaintiffs unreasonably delayed suit

to “bolster [their] litigation position or pad its bottom line,”

militates against an exception here.   Kolcraft Enters., Inc. v.

Chicco USA, Inc., No. 09-CV-03339, 2019 WL 4242482, at *19 (N.D.

Ill. Sept. 6, 2019) (citing Lummus, 862 F.2d at 275); see, e.g.,

EcoServices, LLC v. Certified Aviation Servs., LLC, 340 F. Supp.

3d 1004, 1032 (C.D. Cal. 2018) (finding no undue delay where

defendant put forth no evidence that plaintiff’s delay was a

litigation tactic or that defendant was prejudiced in any way);

Green Mountain Glass LLC v. Saint-Gobain Containers, Inc., 300

F. Supp. 3d 610, 627 (D. Del. 2018), aff’d sub nom. Green

Mountain Glass, LLC v. Saint-Gobain Containers, Inc., 773 F.

App’x 619 (Fed. Cir. 2019) (awarding prejudgment interest where

“Defendant has neither proven Plaintiffs unduly delayed in

filing suit or that they have been prejudiced.”).

                                85
                2. Prejudgment Interest Rate

            District courts are afforded “wide latitude in the

selection of interest rates,” and the Federal Circuit has

authorized the use of state statutory rates, the prime rate, and

pertinently, the U.S. T-Bill rate.29        Schwendimann, 959 F.3d at

1076.   The T-Bill rate “has been accepted and employed by many

courts in patent cases as a reasonable method of placing a

patent owner in a position equivalent to where it would have

been had there been no infringement.”30         Romag Fasteners, Inc. v.

Fossil, Inc., No. 3:10CV1827 (JBA), 2018 WL 3918185, at *10 (D.

Conn. Aug. 16, 2018) (procedural history and citations omitted);

see, e.g., Laitram Corp. v. NEC Corp., 115 F.3d 947, 955 (Fed.

Cir. 1997); Datascope Corp. v. SMEC, Inc., 879 F.2d 820, 829

(Fed. Cir. 1989), cert. denied, 493 U.S. 1024 (1990); Enzo




29
      As a general matter, interest is awarded to “compensate [the lender]
for the opportunity costs of the loan, the risk of inflation, and the . . .
risk of default.” Till v. SCS Credit Corp., 541 U.S. 465, 479 (2004). The
T-Bill rate is the “risk-free” interest rate charged on loans made to the
United States government. See Applera Corp. v. MJ Research Inc., No.
3:98cv1201 (JBA), 2005 WL 2084319, at *2 (D. Conn. Aug. 29, 2005). In
contrast, the national prime rate “reflects the financial market’s estimate
of the amount a commercial bank should charge a creditworthy commercial
borrower,” Till, 541 U.S. at 479, i.e., a bank’s largest and best customers
with the lowest risk of default.
30
      The T-Bill rate is a fundamentally conservative method of compensation,
so much so that some courts consider it inadequate. E.g., SIMO Holdings
Inc., 396 F. Supp. 3d at 352 (setting prejudgment interest at prime rate,
compounded quarterly, to “better approximate[] a corporate borrower’s cost of
funds,” because the T-Bill rate would not adequately compensate plaintiff for
the infringement); Stryker Corp. v. Intermedics Orthopedics, Inc., 891 F.
Supp. 751, 833 (E.D.N.Y. 1995) (“[I]n the Court’s view the prime rate is more
reflective of [the patentee’s] cost of funds than the . . . Treasury Rate.”).


                                     86
Biochem, 2014 WL 29126, at *4; Accuscan, Inc. v. Xerox Corp., 96

Civ. 2579, 2000 WL 280005, at *2 (S.D.N.Y. Mar. 14, 2000).

         Courts may also award compound interest in order to

ensure the patent owner is fully compensated.     Accord Rite-Hite

Corp., 56 F.3d at 1555 (citation omitted); Mars, Inc. v. Coin

Acceptors, Inc., 513 F. Supp. 2d 128, 137 (D.N.J. 2007)

(“Because a patentee’s damages include the forgone use of money,

compounded [interest] is needed to account for the time value of

money.”) (quoting AMP Inc. v. Lantrans, Inc., 1991 WL 253796, at

*7 (C.D. Cal. Nov. 7, 1991)); see, e.g., IPVX Patent Holdings,

Inc. v. Taridium, LLC, No. 12-CV-5251 KAM SMG, 2014 WL 4437294,

at *5 (E.D.N.Y. Aug. 6, 2014), report and recommendation

adopted, No. 12-CV-5251 KAM SMG, 2014 WL 4437307 (E.D.N.Y. Sept.

9, 2014) (“[T]his Court’s understanding is that interest is

generally compounded annually, and I therefore conclude that

annual compounding should be sufficient to compensate

plaintiff.”).   “Whether to award simple or compound interest is

within the discretion of the district court.”     Mars, Inc., 513

F. Supp. 2d at 137 (citing Lam, Inc. v. Johns–Manville Corp.,

718 F.2d 1056, 1066 (Fed. Cir. 1983)).   The Federal Circuit,

moreover, has rejected the notion that a prevailing patent

litigant must affirmatively demonstrate entitlement to

prejudgment interest above the T-Bill rate.     Studiengesellschaft




                                87
Kohle, m.b.H. v. Dart Indus., Inc., 862 F.2d 1564, 1579–80 (Fed.

Cir. 1988).

         Presidio voices no specific objection to applying the

three-month T-Bill rate, but opposes compounding interest,

citing the lack of “evidence that [Plaintiffs] borrowed any

money due to being deprived of the damages award.”      (Def.’s

Dmgs. Opp. 9.)     This objection fails.   Compound interest may be

awarded regardless of Plaintiffs’ borrowing needs or rates.       See

Rosco, Inc. v. Mirror Lite Co., No. CV-96-5658CPS, 2009 WL

3587344, at *2 (E.D.N.Y. Oct. 26, 2009), aff’d, 394 F. App’x 714

(Fed. Cir. 2010) (compounding prejudgment interest quarterly

even though prevailing party did not “submit[] any evidence of

the rate at which it borrows money.”).

         For the reasons stated above, the court provisionally

awards prejudgment interest to Plaintiffs at the three-month T-

Bill rate, compounded annually. After the new trial concludes,

the parties will confer and submit a stipulated judgment as to

the precise amount of prejudgment interest, which shall be

awarded “from the time that the royalty payments would have been

received” for each Patent-in-suit, Gen. Motors Corp., 461 U.S.

at 655-56, until the date of an amended final judgment on

royalty damages.




                                  88
          C. Post-Judgment Interest

            “The award of post-judgment interest is mandatory on

awards in civil cases as of the date judgment is entered.”

Lewis v. Whelan, 99 F.3d 542, 545 (2d. Cir. 1996); 28 U.S.C. §

1961(a) (stating that post-judgment interest at the federal

statutory rate “shall be allowed on any money judgment in a

civil case recovered in a district court”).       Post-judgment

interest is calculated from the date of entry of judgment at a

rate equal to the weekly average 1-year constant maturity

Treasury yield, as published by the Board of Governors of the

Federal Reserve System.    28 U.S.C. § 1961(a).

            The parties agree that Plaintiffs are entitled to

post-judgment interest.    Accordingly, the court provisionally

awards Plaintiffs post-judgment interest following the new

trial, at the rate specified by § 1961, beginning from the date

a new judgment awarding royalty damages is entered.

          D. Taxation of Costs

            Plaintiffs seek taxation of $298,337.54 in costs

against Presidio.    (Pls.’ Dmgs. Mot. 7; ECF No. 230-2, Bill of

Costs.)    The Bill of Costs breaks down into four broad

categories: (1) docket and miscellaneous fees: $555.24; (2)

trial and deposition transcripts: $49,847.20; (3) witness fees,

travel expenses, and subsistence: $12,787.75; and (4) fees and

costs for photocopies, printing, demonstratives, and technical

                                  89
assistance at trial: $235,147.35.        (Pls.’ Dmgs. Mot. 7-8.)

Presidio believes Plaintiffs have vastly overstated their costs

and vigorously contest almost every expense.        (See Def.’s Dmgs.

Opp. 9-17.)

               1. Legal Standard

         Rule 54 of the Federal Rules of Civil Procedure

provides that, “[u]nless a federal statute, these rules, or a

court order provides otherwise, costs—other than attorney’s

fees—should be allowed to the prevailing party.”        Fed. R. Civ.

P. 54(d)(1).   “Construing this provision, the Supreme Court has

held that the term ‘costs’ includes only the specific items

enumerated in 28 U.S.C. § 1920.”        Whitfield v. Scully, 241 F.3d

264, 269 (2d Cir. 2001), abrogated on other grounds by Bruce v.

Samuels, 136 S. Ct. 627 (2016).     Pursuant to § 1920, the court,

or the Clerk of Court, may tax as costs the following:

         (1) Fees of the clerk and marshal; (2) Fees for
         printed   or   electronically    recorded  transcripts
         necessarily obtained for use in the case; (3) Fees and
         disbursements for printing and witnesses; (4) Fees for
         exemplification and the costs of making copies of any
         materials where the copies are necessarily obtained
         for use in the case; (5) Docket fees . . .; [and] (6)
         Compensation of court appointed experts, compensation
         of interpreters, and salaries, fees, expenses, and
         costs of special interpretation services.

28 U.S.C. § 1920.

         Local Civil Rule 54.1(c) enumerates ten items taxable

as costs, clarifies which items are, and are not taxable without


                                   90
an order of the court, see Committee Note to Local Civ. R. 54.1,

and controls insofar as it addresses a particular cost.             See

Balance Point Divorce Funding, LLC v. Scrantom, 305 F.R.D. 67,

70 (S.D.N.Y. 2015).      The court is also aware that the Local

Rules bar taxation of costs during the pendency of a new trial

motion.    Local Civ. R. 54.1(a).         This Memorandum and Order

contemporaneously resolves Plaintiffs’ motion for a new trial,

however, and so the Local Rules do not inhibit taxation of

costs.31

                2. Docket and Miscellaneous Fees

            Plaintiffs seek $555.24 in docket and filing fees.

(Pls.’ Dmgs. Mot. 8; ECF 230-10 (electronic docket excerpts

reflecting filing fees for Complaint and pro hac vice

application); ECF No. 230-11 (summons served on Presidio).)

Under Local Civil Rule 54.1(c)(10), “[d]ocket fees, and the

reasonable and actual fees of the Clerk and of a marshal,

sheriff, and process server, are taxable . . . .”            See also 28

31
      Local Rule 54.1(a) also provides that “[w]ithin thirty (30) days after
the determination of any . . . motion for a new trial, the party seeking [to]
tax costs shall file a new notice of taxation of costs.” Presidio’s
opposition does not refer to this provision, or the Local Rules’ prohibition
against taxing costs during the pendency of a new trial motion. The court
construes this silence as a waiver, and exercises its inherent authority to
waive its Local Rules because strict adherence here would result in
unnecessarily duplicative filings. See Somlyo v. J. Lu-Rob Enters., Inc.,
932 F.2d 1043, 1048 (2d Cir. 1991) (“The district court’s inherent discretion
to depart from the letter of the Local Rules extends to every Local Rule
regardless of whether a particular Local Rule specifically grants the judge
the power to deviate from the Rule.”).




                                     91
U.S.C. § 1920(1) (the court may tax “[f]ees of the clerk and

marshal”).

           Presidio only objects to a $25 pro hac vice filing

fee.   (Def.’s Dmgs. Opp. 9-10.)     Plaintiffs respond by

withdrawing this fee request.      (Pls.’ Dmgs. Reply 4.)    The court

therefore awards Plaintiffs docket and filing fees limited to

$530.24.

              3. Trial and Deposition Transcripts

           Plaintiffs seek $49,847.20 in costs for trial

transcripts “necessarily obtained for use in the case,” and

deposition transcripts, video recordings, and exhibits “used at

trial or for witnesses that testified at trial, or used by a

party in a summary judgment motion.”      (Pls.’ Dmgs. Mot. 8-9.)

Presidio asserts that three sub-categories of costs in this

group are non-taxable: (1) deposition transcripts not used or

received at trial; (2) videotapes of depositions; and (3)

duplicative copies of exhibits to the depositions.      (Def.’s

Dmgs. Opp. 10-12.)   Presidio does not object to the cost of

trial transcripts.

           Local Civil Rule 54.1(c)(2) provides that, unless the

court orders otherwise:

           the original transcript of a deposition, plus one
           copy, is taxable if the deposition was used or
           received in evidence at the trial, whether or not it
           was read in its entirety. . . . Costs for depositions
           taken solely for discovery are not taxable.

                                   92
Notwithstanding Rule 54.1(c)(2)’s “clear and unequivocal”

wording, “cases have established the sensible rule that the

costs of depositions not used at the trial may nevertheless be

taxed for costs where they appear to have been reasonably

necessary to the litigation at the time they were taken.”     Palm

Bay Int’l, Inc. v. Marchesi Di Barolo S.P.A., 285 F.R.D. 225,

235 (E.D.N.Y. 2012) (internal citations omitted) (collecting

cases); accord Bauta v. Greyhound Lines, Inc., No. 14-CV-3725

(RER), 2019 WL 8060181, at *4 (E.D.N.Y. June 17, 2019) (“Courts

have not limited the meaning of the word ‘use’ to only include

deposition transcripts that were admitted at trial.”).

         The “sensible” interpretation of Local Rule 54.1(c)(2)

is the “general practice” in the Eastern District, see Bauta,

2019 WL 8060181, at *5, and defeats Presidio’s objection to

taxing deposition transcripts not used or received at trial.

Every transcript Presidio contests relates to a witness who

either testified at trial, or whose video testimony was played

at trial, or whose testimony was cited in Plaintiffs’ summary

judgment motion.   (Def.’s Dmgs. Opp. 10-11; see ECF No. 230-13

(Deposition Invoices).)   Courts in this District generally

consider such costs taxable.    See, e.g., Bauta, 2019 WL

8060181, at *5 (awarding costs of deposition transcript, plus




                                93
one copy, for witnesses who appeared at trial, regardless of

whether transcript was entered into record).     So too here.

         Presidio’s objection to costs associated with video

testimony likewise fails.    “Video fees have been deemed taxable

where there was an expectation among the parties that the video

of the testimony might be presented at trial.”     In re Omeprazole

Patent Litig., No. 00 CIV. 4541 BSJ, 2012 WL 5427791, at *4

(S.D.N.Y. Nov. 7, 2012) (citations, internal quotation marks,

and brackets omitted); but see Citigroup Glob. Markets, Inc. v.

Abbar, 63 F. Supp. 3d 360, 362 (S.D.N.Y. 2014) (finding costs

for videotaped depositions duplicative, given court’s taxation

of costs for original transcripts plus one copy, notwithstanding

use of video at trial).     Each video fee Presidio objects to, was

either: (1) played at trial during Plaintiffs’ case-in-chief

(see ECF No. 232-2 (excerpts of trial testimony: Richard

Monsorno, Daniel Devoe, Mary Trinh, Lambert Devoe, Alan Devoe);

(2) used, or was expected to be used at trial for impeachment

purposes (see ECF No. 232-3 (excerpts of trial testimony: Dr.

Michael Randall and Dr. Vincent Thomas); or (3) prepared at

Presidio’s request, and due to uncertainty regarding the

witnesses’ availability for trial, as in the case of John Mruz

and Victor Insetta, individuals who were not employed by the

parties during this case.     (See Pls.’ Dmgs. Reply 5.)   The court

finds that the video costs Plaintiffs seek are taxable.

                                  94
           Presidio’s third objection raises a non-existent

concern.   Plaintiffs do not seek to tax costs for two copies of

deposition exhibits, as Presidio asserts.    (Pls.’ Dmgs. Reply 5

(citing Def.’s Dmgs. Opp. 12).)    Presidio’s confusion,

reasonable though it may be, stems from separate line items in

the deposition invoices for “EXHIBITS B&W” and “EXHIBITS COLOR.”

(See, e.g., Deposition Invoices, ECF p. 12 of 36.)    Plaintiffs

represent that each line item corresponds to different exhibits,

which is supported by the fact that each line item reflects

different page counts.    The court accepts Plaintiffs’

representation.

           Accordingly, the court awards Plaintiffs the full

$49,847.20 requested for the costs of deposition and trial

transcripts, which amounts may increase due to the new trial.

              4. Witnesses, Travel Expenses, and Subsistence

           Plaintiffs also seek $12,787.75 in fees, travel

expenses, and subsistence costs for John Mruz, Andrew Ritter,

Evan Slavitt, Dr. Craig Hillman, Dr. James Woods, and Dr.

Stanley Shanfield, witnesses for Plaintiffs who testified at

trial and were deposed.    Witness costs are taxable under 28

U.S.C. § 1920(3).   Local Civil Rule 54.1(c)(3) permits taxation

of witness fees and travel expenses authorized by 28 U.S.C. §

1821, so long as the witness testifies, as well as subsistence

pursuant to § 1821, if the witnesses testifies and it is

                                  95
impractical for him or her to return to their residence day to

day.

         Pursuant to 28 U.S.C. § 1821(a)(1), “a witness in

attendance at any court of the United States . . . or before any

person authorized to take his deposition pursuant to any rule or

order of a court of the United States, shall be paid fees and

allowances provided by this section.”     The witness’s fees and

allowances include: (1) $40 per day for each day’s attendance;

(2) actual travel expenses to and from the deposition or trial,

assuming the witness utilized a reasonable means of

transportation; and (3) a subsistence allowance at the

applicable per diem rate.    Id. § 1821(b), (c)(1).

         Presidio’s sole objection relates to witness costs for

depositions that were not used or received at trial.       Presidio

relies on the apparent limiting language of the Local Rules,

which state that, “[f]ees, mileage, and subsistence for the

witness at the deposition are taxable at the same rates as for

attendance at trial if the deposition taken was used or received

in evidence at the trial.”     Local Civ. R. 54.1(c)(2).   As stated

above, this court applies the “sensible rule” to costs

associated with depositions.    The court thus finds taxable and

awards those witness fees, travel expenses, and subsistence

incurred in connection with depositions, where the witness

deposed subsequently testified at trial.     Upon review of

                                  96
Plaintiffs’ attached expense records (see ECF No. 230-14,

Witnesses’ Travel Expenses; ECF No. 230-15, Applicable Per Diem

Rates), the court finds all requested costs are taxable and

reasonable, with one exception.     Plaintiffs seek $983.16 for Dr.

Shanfield’s fees and expenses incurred in connection with his

testimony at the Markman Hearing on August 31, 2016.       (Pls.’

Dmgs. Mot. 13.)   Plaintiffs have not identified any authority

that permits recovery of such costs where the testimony involved

was not related to a trial or deposition.     As a result, this

cost will not be taxed.   Plaintiffs are therefore awarded

$11,804.59 in witness attendance fees, travel expenses, and

subsistence.

               5. Photocopies, Printing, Demonstratives, and
                  Technical Assistance

         Finally, Plaintiffs seek $235,147.35, encompassing the

costs of printing trial exhibits, preparing demonstratives for

trial, creating a trial exhibit database for use at trial,

generating deposition video clips for use at trial, computer

technician assistance at trial, and copying documents for

production in the litigation.     (Pls.’ Dmgs. Mot. 14.)    The court

addresses each of the foregoing, and Presidio’s objections, in

turn.




                                  97
                  i.      Trial Exhibits and Witness Binders

           Plaintiffs expended $4,243.96 printing four sets of

trial exhibits, and $8,027.39 printing four sets of witness

binders.     Under Local Civil Rule 54.1(c)(5), “[a] copy of an

exhibit is taxable if the original was not available and the

copy was used or received in evidence.”          Moreover, “[t]he cost

of copies used for the convenience of counsel or the Court are

not taxable.”     Id.32    Plaintiffs cite the undersigned’s Chambers

Practices, which require counsel to provide the court with two

sets of trial exhibits, as justification for their duplication

of the trial exhibits.        (Pls.’ Dmgs. Reply 6 (citing Chambers

Practices of Hon. Kiyo A. Matsumoto, Section V.A.11(a)(4).)

Plaintiffs provided the court with two courtesy copies of trial

exhibits, as required and ordered.         The third and fourth sets of

exhibits were used by Plaintiffs and Presidio, respectively.

(Id. 6-7.)    Clearly then, three of the four trial exhibit

binders were prepared exclusively for the convenience of the

court and defense counsel.        On reply, Plaintiffs cite two docket

orders by other courts that apparently taxed the type of costs

Plaintiffs seek here.        Because neither order sets forth its

reasoning, this court cannot discern the legal bases underlying

taxation in those instances.        Ultimately, the plain language of


32
      The court finds the presence of this limiting language, not present in
Local Rules 54.1(c)(2) and (3), bars application of the “sensible rule” for
exemplification of trial exhibits and witness binders.

                                     98
the Local Rules dictates that three of the four trial binders

exhibits are non-taxable.

           Likewise, Plaintiffs make no showing that the binders

of witness exhibits were used or received in evidence, existed

for any purpose other than the convenience of the court,

witnesses, and counsel, or comprised non-duplicative exhibits

not already included in the trial exhibit binder.    The attached

invoices and accompanying declaration of Plaintiffs’ counsel,

fail to elaborate on these points.    (See generally ECF No. 230-

17, Witness Exhibits Invoice; ECF No. 230-3, Declaration of

Peter F. Snell, Esq.)   Moreover, Plaintiffs cite no language in

the Local Rules that would permit taxation of such costs.

           Accordingly, the court awards Plaintiffs $1,060.99 for

the one taxable set of trial exhibits.    The court will not tax

any costs associated with Plaintiffs’ preparation of witness

binders.

               ii.   Demonstratives

           Plaintiffs seek $146,190 for the preparation and

design of demonstratives at trial.    (Pls.’ Dmgs. Mot. 15.)

Taxable costs include “[f]ees for exemplification and copies of

papers necessarily obtained for use in the case.”    28 U.S.C. §

1920(4).   Local Civil Rule 54.1(c)(6) provides that “[c]osts of

maps, charts, and models, including computer generated models,

are not taxable except by order of court.”    The Local Rules thus

                                99
confer discretion on the court to award costs for preparing

demonstratives.   See Altvater Gessler-J.A. Baczewski Int'l (USA)

Inc. v. Sobieski Destylarnia S.A., No. 06 CIV. 6510 HB, 2011 WL

2893087, at *7 (S.D.N.Y. July 14, 2011).

         Section 1920(4) is understood as “authoriz[ing] a

court to tax the cost of preparing demonstrative aids, including

charts, blow-ups, and computer graphics.”   DiBella v. Hopkins,

407 F. Supp. 2d 537, 539 (S.D.N.Y. 2005); see also In re Air

Crash Disaster at John F. Kennedy Int'l Airport, 687 F.2d 626,

631 (2d Cir. 1982) (holding that § 1920(4) entitles a prevailing

party to recover “reasonable expense of preparing maps, charts,

graphs, photographs, motion pictures, photostats and kindred

materials,” as well as cost of producing demonstration models

and exhibits) (citations and internal quotation marks omitted).

In DiBella v. Hopkins, then-District Judge Chin, explained why

awarding reasonable costs for demonstratives is a prudent

exercise of the court’s discretion under Local Rule 54.1:

         [B]low-ups,   digital    presentations   of   scanned
         documents, and other computer graphics serve the same
         function as exhibits and other papers used at trial,
         and there is no logical reason to differentiate
         between the former and the latter in terms of their
         taxability as costs. Digitized copies of documents
         shown on a television monitor or screen are the
         functional equivalent of photocopies of documents in
         jury binders.

         [T]he use of technology to improve the presentation of
         information to the jury and/or to the bench should be
         supported.   Computers, computer graphics, digitized

                               100
            documents, and other technological advancements have
            become important tools of the modern-day trial lawyer.
            As long as the cost is reasonable and the devices aid
            in the efficient and effective presentation of
            evidence, a prevailing party should be allowed to
            recover their expense. Here, both sides used computer
            technology and demonstrative graphics at trial, and
            the use of these items helped to facilitate the
            presentation of evidence.

407 F. Supp. 2d at 540 (internal quotation marks and citations

omitted).

            Not all courts in this Circuit agree.   Recently, some

cases have held or suggested that the lack of explicit textual

reference to demonstratives or visual aids in 28 U.S.C. §

1920(4) renders such costs non-taxable.    See, e.g., Endo Pharms.

Inc. v. Amneal Pharms., LLC, 331 F.R.D. 575, 580 (S.D.N.Y. 2019)

(explaining why 28 U.S.C. § 1920 may not cover costs in

developing trial graphics and demonstratives, but ultimately

denying costs on grounds plaintiff failed to substantiate

expenses with specific exhibits or tasks); Broadspring, Inc. v.

Congoo, LLC, No. 13-CV-1866(RJS), 2016 WL 817449, at *6

(S.D.N.Y. Feb. 24, 2016) (“[T]he costs of DOAR’s assistance with

trial graphics and demonstrative services at trial . . . which

amount to over $136,000 — do not fall within the textual

confines of 28 U.S.C. § 1920 and, accordingly, are not

taxable.”).    Respectfully, the court disagrees with this

restrictive approach.




                                101
          Although the Second Circuit has not recently had

occasion to clarify the meaning of “exemplification” under

section 1920(4), demonstratives and visual aids are fairly

encompassed by a reasonable reading of the statute.   See Cefalu

v. Vill. of Elk Grove, 211 F.3d 416, 427 (7th Cir. 2000) (“More

commonly, [exemplification] signifies the act of illustration by

example, a connotation broad enough to include a wide variety of

exhibits and demonstrative aids.”) (internal citation omitted);

see also Warner Chilcott Labs. Ireland Ltd. v. Impax Labs.,

Inc., No. CIV.A. 08-6304 WJM, 2013 WL 1876441, at *14 (D.N.J.

Apr. 18, 2013) (“[T]he Clerk is not inclined to adopt a

definition as restrictive as that in Black’s Law Dictionary,

thereby virtually eliminating the costs of all demonstrative

evidence.”).   Patent litigation, in particular, demonstrates the

illogic of defining “exemplification” on unduly narrow terms,

thereby removing demonstratives from the ambit of taxable costs.

Visual aids are indispensible to a lay juror’s comprehension of

the advanced, often technical subjects that arise in patent

cases.   Barring the prevailing party from recovering the costs

of demonstratives would put counsel between a rock and hard

place, and might cause reluctance amongst patent litigators to

fully leverage available visual resources, thus compromising the

presentation of the case.   The court does not believe this

outcome comports with the underlying intent of § 1920(4) or

                               102
Federal Rule of Civil Procedure 54.   Cf. United States v. Davis,

No. 96-CR-912 (ERK), 2020 WL 2522079, at *1 (E.D.N.Y. May 18,

2020) (“Unquestionably the courts, in interpreting a statute,

have some ‘scope for adopting a restricted rather than a literal

or usual meaning of its words where acceptance of that meaning

would lead to absurd results . . . or would thwart the obvious

purpose of the statute.’”) (quoting Comm'r v. Brown, 380 U.S.

563, 571 (1965)).

          In this case, Plaintiffs’ demonstratives and other

models at trial effectively presented highly complex and

technical evidence to the court and jury.    Plaintiffs’ visual

aids were indispensible to the jury’s comprehension of the

facts.   As Plaintiffs note, demonstratives were used to display

the accused products, “which are smaller than a grain of salt,”

and thus incapable of being shown to the jury without models and

technology-assisted magnification.    (Pls.’ Dmgs. Reply 8.)

Plaintiffs also used demonstratives to show that Presidio’s BB

capacitors had “co-extensive” dielectric layers and

“substantially L-shaped terminations,” as required by the ‘791

and ’547 Patents, respectively.   (Id.)   Because Plaintiffs’

demonstratives and other visual aids were essential to

facilitating the court and jury’s comprehension, they are,

broadly speaking, taxable.




                               103
          Even so, at this juncture, the court will not award

costs without additional information about billings for the

demonstratives.   In support of this motion, Plaintiffs attached

invoices from CaseSight, Inc. (“CaseSight”), the vendor that

prepared Plaintiffs’ demonstratives.     (See ECF No. 230-18,

CaseSight Invoices.)   CaseSight’s invoices provide generic

billing descriptions that fail to specify whether the billed-for

work product was necessary or used at trial.     Descriptions like

“Storyboard infringement demonstratives,” “Infringement

presentation,” and “3D modeling of accused capacitors,” while

facially legitimate, shed little light on which demonstratives

they relate to, and ultimately, why the hours spent on that

project were reasonable and necessary.

          To be clear, Plaintiffs need not account for each and

every minute of CaseSight’s time.    But the court requires more

visibility into CaseSight’s contributions to justify the costs

sought.   This may be accomplished by a supplemental affidavit,

preferably by a CaseSight professional with personal knowledge,

itemizing the specific demonstratives CaseSight prepared,

whether they were introduced at trial and for what purpose, and

matching the line items in the invoices to specific

demonstratives.   Courts have demanded as much where the costs

sought were comparable to, and even far below, the amounts

requested here.   See, e.g., Endo, 331 F.R.D. at 581–82 (denying

                               104
costs where plaintiffs “made no effort to link specific claimed

costs [of $273,742.50] to specific trial exhibits or preparatory

tasks, nor has it offered any other basis for determining what

portion of its total claimed costs derive from unimaginative

work like transcribing an audio file or enlarging a

photograph.”); Akiro LLC v. House of Cheatham Inc., No. 12 CIV.

5775 JSR, 2013 WL 5548845, at *2 (S.D.N.Y. Sept. 27, 2013)

(declining to award $1,412.07 for trial demonstratives where

majority of demonstratives were not used at trial, and “even

though the costs associated with unused demonstratives may still

be awarded in some circumstances, defendants provide[d] no

itemized list of all the demonstratives they purchased, and why

they were all necessary.”).   The court thus denies, without

prejudice, taxation of costs for the preparation and design of

Plaintiffs’ demonstratives.   Plaintiffs may move to tax these

costs again, upon a more detailed showing.   Following the new

trial, if Plaintiffs seek further demonstrative-related costs

incurred in connection with the damages trial, Plaintiffs will

be required to demonstrate that such expenses are not

duplicative of the costs sought here.

             iii.   Exhibit Database, Video Clips, and Technical
                    Assistance

         Plaintiffs also seek costs for CaseSight services

unrelated to the preparation of demonstratives, namely, the



                               105
creation of a trial exhibit database, digitizing of audio and

visual recordings, and set-up and break-down of technology used

during trial.    (Pls.’ Dmgs. Mot. 15.)   Costs for these services

total $72,500.     (Id.; see also CaseSight invoices.)

         These costs are taxable if they promoted “the

efficient and effective presentation of evidence,” DiBella, 407

F. Supp. 2d at 540, and therefore constituted “[f]ees for

exemplification” under 28 U.S.C. § 1920(4); see Farberware

Licensing Co. LLC v. Meyer Mktg. Co., No. 09 CIV. 2570 (HB),

2009 WL 5173787, at *8 (S.D.N.Y. Dec. 30, 2009), aff’d, 428 F.

App’x 97 (2d Cir. 2011) (“Here, the documentary exhibits were

voluminous and the various visual aids that were presented at

trial were helpful to the jury and the Court in focusing

attention on the salient documents and concepts. Accordingly,

Meyer is entitled to recover its reasonable costs for equipment

and technological graphics.”).     On the other hand, the costs are

not recoverable if they merely facilitated copying of exhibits

for the convenience of counsel or the court.     See Local Civil

Rule 54.1(c)(5).

         As with Plaintiffs’ demonstrative costs, the court

requires more information.     If Plaintiffs wish to recover the

above-described costs, they must supply a supplemental affidavit

detailing how CaseSight’s digitization services, creation of an

exhibit database, and technical assistance facilitated the

                                 106
trial, and link those services to specific invoice line items.

The court is unsure what purpose the exhibit database served,

other than as a readily-accessible repository of documents for

counsel’s convenience.       Therefore, the affidavit should also

clarify how the exhibit database aided the presentation of

evidence at trial, in a way that the binder of trial exhibits,

already taxed, did not.       Plaintiffs’ motion to tax costs in this

respect is therefore denied without prejudice.

                 iv.    TIFF Conversion

           Finally, Plaintiffs seek $4,186 in costs for

converting native files to Tagged Image File Formats, or TIFFs,33

in response to Presidio’s discovery requests.          (Pls.’ Dmgs. Mot.

16; ECF No. 230-19, Mintz Litigation Technology Support

Invoices.)    Courts consider sums spent converting native files

to TIFFs as “costs of making copies of any materials” under

section 1920(4).       Balance Point, 305 F.R.D. at 73 (“By

converting a native image into a different format, such as TIFF,

one has simply duplicated the image and provided a new, modified

copy.”); accord Broadspring, 2016 WL 817449, at *7 (“Plaintiff

may thus also tax the cost of electronic discovery that was made

in response to Defendants’ request to convert files to TIFF

33
      TIFF is “[a] widely used and supported graphic file format[] for
storing bit-mapped images, with many different compression formats and
resolutions.” Balance Point, 305 F.R.D. at 74 (quoting The Sedona Conference
Glossary: E–Discovery & Digital Information Management 15 (4th ed. Apr.
2014)).


                                    107
before production.”); see Race Tires Am., Inc. v. Hoosier Racing

Tire Corp., 674 F.3d 158, 166 (3d Cir. 2012) (“The most recent

amendment to the statute, however, permitting an award to the

prevailing party of the cost of making copies of ‘materials,’

plainly signifies that [section] 1920(4)’s allowance for copying

costs is not limited to paper copying.”).   The court therefore

awards in full Plaintiffs’ file conversion costs in response to

Presidio’s document requests.




                                108
                              CONCLUSION

            For the foregoing reasons, the court orders as

follows:

    (1)     Defendant’s Motion for Judgment as a Matter of Law or,

alternatively, a New Trial, is DENIED in its entirety.

    (2)     Plaintiffs’ Motion for a New Trial or, alternatively,

an Amended Judgment, is GRANTED in part, and DENIED in part.

The court orders a new trial with respect to damages.      The sole

issue at trial will concern the appropriate royalty rate for

both Patents-in-suit under the framework set forth in Georgia-

Pacific v. U.S. Plywood Corp., 318 F. Supp. 1116 (S.D.N.Y.

1970).     The royalty rate(s) determined by the jury, or the

undersigned in the event of a bench trial, will be applied to

all infringing devices, pursuant to 35 U.S.C. § 284.

            To further aid the fact-finder, the court hereby

authorizes Plaintiffs to submit a revised expert report on

damages to analyze hypothetical licensing negotiations between

Presidio, on the one hand, and each of ATC and AVX, on the

other.     Defendant’s damages expert may respond.   The experts

shall opine on the appropriate royalty rate for both Patents-in-

suit.    The parties are ordered to confer and file a joint letter

within seven days of the entry of this Memorandum and Order,

proposing a schedule for Plaintiffs’ revised expert report,

Presidio’s rebuttal, and Plaintiffs’ reply.     Any motion practice

                                 109
relating to the revised expert report shall be presided over by

the Magistrate Judge.

          Plaintiffs’ motion is DENIED to the extent it seeks a

new trial on the issue of lost profits, or an increase to the

jury’s damages award by amended judgment pursuant to Federal

Rule of Civil Procedure 59(e).

    (3)   Plaintiffs’ Motion for Supplemental Damages, Pre- and

Post-Judgment Interest, and Taxation of Costs, is GRANTED in

part, and DENIED in part.

          Supplemental damages are denied, without prejudice,

because there is no legally-binding royalty rate to apply to the

additional infringing units.     The additional infringing units

will be incorporated into Plaintiffs’ royalty base in the new

trial, potentially mooting the need for supplemental damages.

If, following the new trial, Plaintiffs seek damages for any

additional infringing units, the court will entertain

Plaintiffs’ motion at that time.

          Prejudgment interest is provisionally awarded at the

three-month Treasury Bill rate, compounded annually.     After the

new trial concludes, the parties will confer and submit a

stipulated judgment as to the precise amount of prejudgment

interest, which shall be awarded from the time that the royalty

payments would have been received for each Patent-in-suit, until

the date of an amended final judgment on royalty damages.

                                 110
           Post-judgment interest is provisionally awarded at a

rate equal to the weekly average one-year constant maturity

Treasury yield, as published by the Board of Governors of the

Federal Reserve System.   28 U.S.C. § 1961(a).   The prejudgment

and post-judgment interest rates shall be applied to Plaintiffs’

damages award following entry of judgment in the new trial.

           The court taxes costs and awards Plaintiffs as

follows:

  •   Docket and Miscellaneous Fees: $530.24, comprised of the

      filing fee for the Complaint and the cost of serving

      Presidio with process.

  •   Trial and Deposition Transcripts: $49,847.20 for deposition

      and trial transcripts.

  •   Witnesses, Travel Expenses, and Subsistence: $11,804.59 in

      witness attendance fees, travel expenses, and subsistence

      costs.

  •   Photocopies, Printing, Demonstratives, and Technical

      Assistance: (i) $1060.99 for one set of trial exhibits;

      (ii) $0 for the preparation and design of Plaintiffs’

      demonstratives, with leave to seek these costs again upon

      further substantiation; (iii) $0 for costs associated with

      creation of an exhibit database, video clips, and technical

      assistance, with leave to seek these costs again upon

      further substantiation; (iv) $4,186 in costs for converting

                               111
    native files to Tagged Image File Formats, or TIFFs.    With

    respect to items (ii) and (iii), Plaintiffs must submit

    additional proof of such costs to the court no later than

    Monday, September 28, 2020.

          Finally, the parties’ joint letter to the court

regarding Plaintiffs’ revised expert report, due Wednesday,

September 30, 2020, shall also set forth the parties’ plans to

proceed with this case through the new trial.   The letter should

include proposed dates for the new trial, and state the parties’

interest in participating in good faith, settlement discussions,

including a settlement conference before the Magistrate Judge.

SO ORDERED.

Dated:   September 23, 2020
         Brooklyn, New York
                                              /s/
                                    Kiyo A. Matsumoto
                                    United States District Judge




                              112
